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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

State of Texas, et al.

                Plaintiﬀs,

        v.

United States Department of Homeland
Security; Alejandro Mayorkas, in his oﬃcial
capacity as Secretary for DHS; Ur Jaddou, in             No. 6:24-cv-00306
her oﬃcial capacity as Director of USCIS;
Troy Miller, in his oﬃcial capacity as the
Acting Commissioner of CBP;
Patrick J. Lechleitner, in his oﬃcial capacity as
the Acting Director of ICE; the OFFICE OF
MANAGEMENT AND BUDGET; SHALANDA
YOUNG in her oﬃcial capacity as the Director
of the Oﬃce of Management and Budget,
                             Defendants.



         Plaintiffs’ Response to Defendants’ Trial Brief and Motion for Summary Judgment




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                                           INTRODUCTION

        The Defendants continue to press for unconstitutional and unlawfully broad discretion, in

direct contravention of the text and intent of the Immigration and Nationality Act (INA) as

amended by the Illegal Immigration Reform and Immigration Responsibility Act (IIRIRA), in order

to defend a brazenly unlawful mass amnesty pushed through by an administration with less than

zero regard for Congress’s role in crafting immigration policy. But the law is clear: The Defendants’

discretion to grant parole is limited, the Program far exceeds the Defendants’ lawful discretion, and

the harm to the States resulting from this abuse is suﬃcient to confer Article III standing.
        Along the way, Defendants have thrown up a lot of chaﬀ to confuse the real issues. To hear

the Defendants describe their Parole in Place Program (the “PIP Program” or “Program”), it

simultaneously has no eﬀect on anyone’s rights or eligibility for parole, see, e.g., ECF No. 77 at 18

(“Nor does the notice, or the KFT process, itself create new eligibility for parole. Instead, it

establishes a process by which certain noncitizens may be considered, on a case-by-case basis, for

parole, under the pre-existing, discretionary statutory authority at 8 U.S.C. § 1182(d)(5)(A).”), and

it also is a vital to “promote[ ] family unity and stability by allowing noncitizen family members to

obtain lawful status without separating them from their U.S. citizen spouses and, in many cases,

their U.S. citizen children, which existing legal options for obtaining lawful status otherwise would

often require,” ECF No. 77 at 10 (emphasis added). The Defendants would have this Court believe

the Program will not increase the future number of aliens present in this country, see ECF No. 77

at 21–22, but named their “Keeping Families Together” program after its purported primary eﬀect

of allowing illegal aliens to avoid leaving the country and applying for re-entry as the law requires.

        The reality is that the Program does what it purports to do: It establishes parole eligibility

for an illegal alien population that is, by statute, ineligible for parole, thereby increasing the number

of illegal aliens who remain in the United States and eviscerating policies Congress instituted to

deter further illegal migration into this country. See Implementation of Keeping Families Together,

89 Fed. Reg. 67,459, 67, 460 (Aug. 20, 2024) (the “Notice”) (characterizing the PIP Program as


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the Biden-Harris Administration “tak[ing] action to preserve the unity of U.S. citizens and their

noncitizen spouses and noncitizen stepchildren who currently cannot access LPR [Lawful

Permanent Resident] status without ﬁrst departing the United States.”).

       The Program is nothing more than the latest example of an increasingly desperate eﬀort by

the Biden-Harris Administration to circumvent immigration law and encourage illegal immigration

by rewarding those who break our Nation’s laws. See Texas v. United States (DAPA), 809 F.3d 134

(5th Cir. 2015) (program giving legal status to illegal aliens who were parents of citizens or lawful

permanent residents), aﬀ’d, 579 U.S. 547 (2016); Texas v. Biden (MPP), 20 F.4th 928 (5th Cir. 2021)

(DHS terminating program which returned certain illegal aliens to Mexico during their removal

proceedings); Texas v. United States (DACA), 50 F.4th 498, 508 (5th Cir. 2022) (program directing

that removal of certain aliens who entered the U.S. illegally as children should be deferred); GLO

v. Biden, 71 F.4th 264, 268 (5th Cir. 2023) (DHS diverting funds away from the construction of a

border wall, resulting in a “ﬁvefold” increase in southwest border encounters).

       This Court should hold the Program unlawful and set it aside. Plaintiﬀs therefore reiterate

their request that this Court grant preliminary relief until such time as it has rendered ﬁnal

judgment, grant summary judgment in favor of the Plaintiﬀ States, and ﬁnd the PIP Program

unlawful and vacate it, and permanently enjoin the Program’s operation, as well as any future

abuses of the parole authority.

       One note about evidence the Court may consider in this case. Although Defendants
correctly cite the general rule that review of evidence in an APA case is largely limited to the

administrative record, ECF No. 77 at 14–15, the record rule does not always apply, see Gulf Coast

Rod Reel & Gun Club, Inc. v. U.S. Army Corps of Engineers, No. 3:13-cv-126, 2015 WL 1883522, at

*1-2 (S.D. Tex. Apr. 20, 2015) (Costa, J.). It does not apply to non-merits issues like subject matter

jurisdiction, including standing and whether the test for ﬁnal agency action is satisﬁed, see Qureshi

v. Holder, 663 F.3d 778, 781 (5th Cir. 2011) (“if there is no ﬁnal agency action, a federal court lacks

subject matter jurisdiction”). Evidence about such issues does not implicate the record rule because


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 courts consider it “not in order to supplement the administrative record on the merits, but rather

 to determine [their own] jurisdiction.” Nw. Envtl. Def. Ctr. v. Bonneville Power Admin., 117 F.3d

 1520, 528 (9th Cir. 1997); see also Sierra Club v. Yeutter, 911 F.2d 1405, 1421 (10th Cir. 1990). In fact,

 courts routinely rely on extra-record evidence to support jurisdiction in APA cases, including for

 Article III standing. See, e.g., Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 153–54 (2010)

 (relying on declarations to ﬁnd that plaintiﬀs had Article III standing in an APA case). The same is

 for remedial questions, Mountains Trans-Pecos Heritage Ass’n v. FAA, 116 F. App’x 3, 16 (5th Cir.

 2004), and even to some merits determinations, such as failure to consider relevant factors, Davis

 Mountains Trans-Pecos Heritage Ass’n v. FAA, 116 F. App’x 3, 15–16 (5th Cir. 2004), or to ultra vires

 claims, Texas v. Biden, No. 2:21-cv-67-Z, 2021 WL 4552547, at *4-6 (N.D. Tex. July 19, 2021)

 (Kacsmaryk, J.), or to determining whether an agency action is a substantive rule for purposes of

 notice-and-comment claims. Texas v. United States, 606 F. Supp. 3d 437, 493 n.66.(S.D. Tex. 2022)

 (Tipton, J.). Extra-record evidence is also allowed “where evidence arising after the agency action

 shows whether the decision was correct or not,” Nat’ Ass’n for Gun Rts., Inc. v. Garland, No. 4:23-

 CV-00830-O, 2024 WL 3517504, at *15 (N.D. Tex. July 23, 2024), such as whether the PIP

 Program is actually compliant with the statutory requirement for case-by-case parole

 determinations.

                                               ARGUMENT

I.     Texas has Article III standing.

          Texas has demonstrated each of the three elements required to have standing to bring its

 claims: (a) an injury in fact, (b) fairly traceable to the challenged action, (c) that will likely be
 redressed by a favorable decision. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).

 Under the standing analysis, only one plaintiff needs to establish standing for an Article III case or

 controversy to exist. See DACA, 50 F.4th at 514 (citing Rumsfeld v. Forum for Acad. & Inst’l Rights,

 Inc., 547 U.S. 47, 52 n.2 (2006)). And once a concrete injury is shown, the magnitude of that injury

 is irrelevant to the standing inquiry. See, e.g., Massachusetts v. EPAs, 549 U.S. 497, 525–26 (2007).


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       “Federal law requires the State to provide emergency Medicaid to noncitizens and public

education to all children, regardless of their immigration status.” DACA, 50 F.4th at 517. On top of

these federally required costs, other expenditures are required by preexisting state law. Texas law

requires local governments to provide healthcare for the indigent. See Tex. Health & Safety Code

§§ 61.001 et seq. Texas law also requires nonproﬁt hospitals to provide unreimbursed care for the

indigent as a condition of maintaining nonproﬁt status. See id. § 311.043.

           A. Texas has an injury in fact.

       “For standing purposes, a loss of even a small amount of money is ordinarily an ‘injury.’”

DACA, 50 F.4th at 518. Contrary to Defendants’ assertion, ECF No. 77 at 28 (making this point

under redressability prong), standing is not defeated by the fact that some of the beneﬁciaries could

have been paroled under a diﬀerent process. And contrary to Defendants’ argument, ECF No. 77

at 24–25, Texas need not show that any actual PIP Program beneficiaries partake of any of these

benefits to show standing, and the fact that some beneficiaries could be paroled through some other

process does not defeat standing. The Fifth Circuit has rejected both of these points:

       The Government says that’s not enough because Texas has not shown it has already
       issued any licenses to immigrants who became eligible because of MPP’s
       termination. Tellingly, however, it offers no hint as to how Texas could make that
       showing—nor why we should require it to do so. Imagine Texas had produced
       copies of driver’s license applications from paroled aliens. Would that have counted
       as evidence that Texas had, in the Government’s words, “issued a single additional
       ’driver’s license as a result” of MPP’s termination? Of course not: There would
       always remain some possibility that any given parolee would have been paroled even
       under MPP. MPP is precisely the sort of large-scale policy that’s amenable to
       challenge using large-scale statistics and figures, rather than highly specific
       individualized documents. And Texas’s standing is robustly supported by just such
       big-picture evidence. There is nothing “conjectural” or “hypothetical” about that.
MPP, 20 F.4th at 971; see also id. at 972–73 (noting that despite no evidence of the MPP-eligible

aliens specifically imposing costs, stranding satisfied because it was “easy to see” that “at least

some MPP-termination-caused immigrants will certainly seek healthcare services from the State,”

because it was “a simple causal inference based on a simple change in incentives” and therefore


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not speculative); DACA, 50 F.4th at 517–18 (finding sufficient for standing that “[t]he record does

not indicate precisely what portion of all costs for illegal aliens is spent on DACA recipients, but

no one disputes that some are.”); DAPA, 809 F.3d at 155 (holding that Texas established injury in

fact without precisely quantifying the costs of issuing driver’s licenses to DAPA beneficiaries).

        The annual cost of educating unaccompanied alien children—a subset of illegal aliens of

which Texas has speciﬁc numbers due to public disclosure by the federal governmentcosts Texas

hundreds of millions of dollars annually, and approximately $232.77 million in FY 2023 and

$201.90 million in FY 2024. ECF No. 79-3, Ex. C. ¶ 5. Defendants argue that it is implausible that

some of the stepchildren eligible for the PIP Program would depart the country for consular

processing to adjust status. ECF No. 77 at 24–25. But if the illegal alien parent does so, it is likely

the desire for family unity will lead the stepchildren to follow. And the evidence of DACA recipients

(themselves children at the time) being likely in the future to leave the country without lawful

presence belies Defendants’ assumption. ECF No. 79-6, Ex. F ¶ 12.

        Additionally, Texas funds two healthcare programs that require signiﬁcant expenditures to

cover illegal aliens: the Emergency Medicaid Program and the Texas Children’s Health Insurance

Program (CHIP). ECF No. 79-4, Ex. D. ¶ 5. Texas is required by federal law to cover illegal aliens

in Emergency Medicaid. See 42 C.F.R. § 440.255(c). “The total estimated cost to the State for the

provision of Emergency Medicaid services to undocumented immigrants residing in Texas was

$116 million in CY 2019; $88.3 million in CY 2020; $95.6 million in CY 2021; $95.0 million in
CY2022; and $97.5 million in 2023.” Id. ¶ 8. Texas also spends millions of dollars per year on CHIP

for perinatal coverall for illegal aliens, including over $31 million in 2023. Id. ¶ 10.

        Texas also faces serious injuries from the crime and associated costs caused by illegal aliens.

From July 1, 2022, to June 30, 2023, the Texas Department of Criminal Justice (TDCJ) housed

7,768 illegal criminal aliens for a total of 2,208,639 days. ECF No. 79-5, Ex. E. ¶ 6. That cost Texas

around $171,147,436, but the federal government has yet to reimburse Texas. Id. ¶¶ 6–7. And from

July 1, 2022, through June 30, 2022, TDCJ housed 6,914 illegal criminal aliens for a total of


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2,019,635 days. Id. ¶ 8. That cost Texas around $156,501,516. Id. Of this amount, TDCJ was only

reimbursed $14,555,173. Id. ¶ 9. And from July 1, 2020, through June 30, 2021, TDCJ housed 7,058

criminal illegal aliens for a total of 1,984,597 days. Id. ¶ 10. That cost Texas an estimated $ 153,786,

422. Id. Of this amount, TDCJ was only reimbursed $ 14,883,040 by the federal government. Id.

¶ 11. The amounts of unreimbursed expenses will likely increase if more illegal aliens are paroled

under the PIP Program. Id. ¶ 12. Criminal activity by aliens would not occur had they not been

present in the State imposes a signiﬁcant cost on Texas’s criminal justice system. Defendants argue

that the PIP Program purporting to make ineligible applicants with a criminal record means Texas

will face reduced incarceration costs in the future. ECF No. 77 at 24. Apparently, no illegal aliens

ever commit that ﬁrst crime, and are always caught and punished for the earlier ones that create

such a record.

       Defendants’ reliance on FDA v. Alliance for Hippocratic Medicine (Alliance), 602 U.S. 367,

374 (2024), is even more misplaced. ECF No. 77 at 17, 23. There, private plaintiﬀs lacked standing

to challenge FDA’s approval of mifepristone, which plaintiﬀs did not prescribe, based on their

desire that other providers would not prescribe it either. Id. at 374. Relevant here, Alliance reaﬃrmed

that standing is established if Texas shows “a predictable chain of events leading from the

government action to the asserted injury.” Id. at 385. Texas has done just that—the goals of the PIP

Program itself rely on the Program reducing the ﬂow of illegal aliens back to their home countries

to adjust their status. Defendants concede as much. See ECF No. 77 at 9, 10, 11. That reduced
outbound ﬂow means that Texas will fact more aliens to use its public education, healthcare, and

incarceration programs.

       Defendants also maintain that because Texas is not the object of the challenged agency

action, it cannot have standing. ECF No. 77 at 23. But the Fifth Circuit has repeatedly rejected this

argument when States have challenged unlawful immigration policies. See DACA, 50 F.4th at 517

(“The Government asserts there is a presumption against standing by plaintiﬀs who are not the

objects of the government action they challenge. Our decision in DAPA rejected the applicability


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of this presumption.”).

               1. Any purported oﬀsetting beneﬁts to Texas do not defeat standing.

       Defendants ask the Court to weigh supposed beneﬁts to Texas from beneﬁciaries of the PIP

Program when assessing whether the State has any injury. ECF No. 77 at 26. But Article III standing

“is not an accounting exercise.” DAPA, 809 F.3d at 156; see also DACA, 50 F.4th at 518. Instead,

“[o]nce injury is shown, no attempt is made to ask whether the injury is outweighed by beneﬁts the

plaintiﬀ has enjoyed from the relationship with the defendant.” Wendt v. 24 Hour Fitness USA, Inc.,

821 F.3d 547, 550 n.10 (5th Cir. 2016) (quoting DAPA, 809 F.3d at 155-56). After all, “[s]tanding is

recognized to complain that some particular aspect of the relationship is unlawful and has caused

injury.” 13A C. Wright & A. Miller, Fed. Practice & Procedure § 3531.4 (3d ed. 2014) (emphasis

added).

       In DAPA, the Court held that courts must not consider “oﬀsetting beneﬁts” because doing

so amounts to an inappropriate “accounting exercise.” 809 F.3d at 155-56. Further, the Court held

that Texas is entitled to special solicitude in the standing analysis, recognizing the harm to the

State’s sovereignty created by DHS’s failures to fully enforce federal law. Id. at 153. It mattered not,

the Court said, that DHS could identify possible oﬀsets in the form of ancillary beneﬁts that may

result from the program. Id. at 156–57. An evenly divided Supreme Court aﬃrmed, Texas, 579 U.S.

547 (2016), leading the Obama Administration to withdraw the program.

       In DACA, the court reached the same conclusion as to the DACA program. 50 F.4th at 518.
Again, before holding the DACA program unlawful, the Fifth Circuit held that the States had

standing to challenge the program because Texas established “expenditures in providing

emergency medical services, social services and public education for illegal aliens.” Id. at 518–19.

The court reached this conclusion even in the face of DHS’s assertions that without the DACA

program, Texas’s “healthcare costs would increase for aliens who remain in Texas,” id. at 518—

the same argument Defendants continue to make here. ECF No. 77 at




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        The Fifth Circuit has said—albeit in dicta—that Article III’s ‘no accounting’ rule may not

apply in cases with “oﬀsetting beneﬁts that are of the same type and arise from the same

transaction.” DAPA, 809 F.3d at 155. Assuming the exception exists, it is narrow and inapplicable

here.

        Although the Court of Appeals has maintained the possibility of considering oﬀsetting

beneﬁts of “the same type” and arising out of the “same transaction” as the plaintiﬀ’s costs, it has

refused to do so in immigration cases. For example, in GLO v. Biden, 71 F.4th 264 (5th Cir. 2023),

the Fifth Circuit held that States had standing to challenge an agency’s refusal to fund a border wall

even if such refusal to do so would allow investment on “system-enhancing technology” that DHS

claimed would more eﬀectively reduce immigration. Id. at 273. “[E]ven if the installation of system-

enhancing technology assists in border control,” the court explained “that does not negate Texas’s

injury, because we consider only those oﬀsetting beneﬁts that are of the same type and arise from

the same transaction as the costs.” Id. (quoting DAPA, 809 F.3d at 155). The States thus were not

required to “demonstrat[e that] their ‘preferred’ border-barrier system would be more eﬀective

than the system DHS has elected to construct” because “once an ‘injury is shown, no attempt is

made to ask whether the injury is outweighed by beneﬁts the plaintiﬀ has enjoyed from the

relationship with the defendant.’” Id. at 274 (quoting DAPA, 809 F.3d at 155-56). This negates

Defendants’ arguments that any reductions in state beneﬁt utilization (of which they provide no

evidence) could serve to oﬀset injuries to Texas and deprive it of standing. ECF No. 77 at 26.
Indeed, the Fifth Circuti has rejected the exact argument that Defendants make on this front—that

without the program’s employment authorization, aliens remaining in Texas would use more state

beneﬁts. See DACA, 50 F.4th at 518 (“The Government cites estimates that if the DACA program

were to be terminated, the State’s healthcare costs would increase for aliens who remain in Texas,

because they would lose their jobs and employer-based health insurance and would rely more on

emergency Medicaid. That may be, but these estimates do not account for the cost savings—

healthcare and educational—from others’ departure. Texas would no longer be required to educate


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those who depart or the children who depart with them” and rejecting argument as “accounting

exercise”).

       The Supreme Court has never altered the rule that once an injury is established, courts do

not consider oﬀsetting beneﬁts. If anything, the Supreme Court seems to have implicitly agreed

with the Fifth Circuit’s position when it reversed the court’s decision in MPP on the merits—but

not standing. See Biden v. Texas, 597 U.S. 785, 801-07 (2022). In all events, because the Supreme

Court reversed MPP on other grounds, this Court’s standing analysis remains binding circuit

precedent. See Data Mktg. P’ship, LP v. Dep’t of Lab., 45 F.4th 846, 856 n.2 (5th Cir. 2022) (MPP’s

standing analysis is binding); Cent. Pines Land Co. v. United States, 274 F.3d 881, 893 (5th Cir. 2001).

               2. Defendants’ “self-inﬂicted injury” argument has been rejected by the Fifth
                  Circuit.

       Defendants argue that standing is not satisﬁed because Texas’s injuries are “attributable to

[Texas’s] own choices concerning eligibility for participation in certain beneﬁt programs.” ECF

No. 77 at 26 (citing Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976)). The Fifth Circuit has

repeatedly rejected the exact argument in the immigration context, where Defendants had relied

on the same authority. See MPP, 20 F.4th at 972; DAPA, 809 F.3d at 157–60.

               3. Texas’s injury in fact is legally cognizable.

       The Supreme Court’s decision in United States v. Texas (“Enforcement Priorities”), 143 S.

Ct. 1964 (2023), does not apply to cases like this one. That case addressed Texas’s and Louisiana’s

challenge to the Department of Homeland Security’s guidelines, which stated that DHS would not

arrest certain criminal aliens whom Congress provided “shall” be arrested. Enforcement Priorities,

143 S. Ct. at 1968. “The [challenged] Guidelines prioritize the arrest and removal from the United

States of noncitizens who are suspected terrorists or dangerous criminals, or who have unlawfully

entered the country only recently, for example,” over the categories of criminal aliens that Congress

mandated be arrested. Id. The Court characterized the case as “[t]he States essentially want[ing]

the Federal Judiciary to order the Executive Branch to alter its arrest policy so as to make more


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arrests.” Id. The Supreme Court held that Article III standing was lacking because “a citizen lacks

standing to contest the policies of the prosecuting authority when he himself is neither prosecuted

nor threatened with prosecution.” Id. (quoting Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973)).

       This holding was based solely on the rule that a party typically lacks standing to compel the

arrest and prosecution of another. See id. The majority emphasized its narrow holding: “[t]he

discrete standing question raised by this case rarely arises because federal statutes that purport to

require the Executive Branch to make arrests or bring prosecutions are rare. …This case therefore

involves both a highly unusual provision of federal law and a highly unusual lawsuit.” Id. at 1974.

       The Court held that “our Article III decision today should in no way be read to suggest or

imply that the Executive possesses some freestanding or general constitutional authority to

disregard statutes requiring or prohibiting executive action,” but that “case is categorically

diﬀerent” from other standing decisions “because it implicates only one discrete aspect of the

executive power—namely, the Executive Branch’s traditional discretion over whether to take

enforcement actions against violators of federal law.” Id. “[T]his case raises only the narrow Article

III standing question of whether the Federal Judiciary may in eﬀect order the Executive Branch to

take enforcement actions against violators of federal law—here, by making more arrests.” Id.

       The Court emphasized that “[t]he Court’s standing decision today is narrow and simply

maintains the longstanding jurisprudential status quo.” Id. at 1975 (citing Linda R.S., 410 U.S. at

619). It described the States’ standing argument as a “novel” one that “if accepted, would entail
expansive judicial direction of the Department’s arrest policies.” Id. at 1973. And it described the

case as an “extraordinarily unusual lawsuit” because the States “want[ed] a federal court to order

the Executive Branch to alter its arrest policies so as to make more arrests.” Id. at 1976. “This case

concerns only arrest and prosecution policies, and we therefore address only that issue” Id. at 1974

n.5 (emphases added); see also id. at 1990 (Alito, J., dissenting) (recognizing that “[t]he Court …

holds only that, with some small and equivocal limitations that I will discuss, no party may

challenge the Executive’s ‘arrest and prosecution policies’”).


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       This extremely narrow and “highly unusual” case does not apply here. That is because

Texas’s injuries are not based on a mere failure to arrest particular aliens—they are based on the

grant of aﬃrmative relief to aliens via parole through an adjudicatory process making them eligible

for beneﬁts. This case does not involve any attempt to compel the arrest or prosecution of anyone,

so Enforcement Priorities does not undermine standing here; none of the relief sought here requires

Defendants to take any immigration, deportation, or criminal action against any particular aliens.

       The Enforcement Priorities majority cautioned that, while “States sometimes have standing

to sue the United States or an executive agency or oﬃcer,” 143 S. Ct. at 1972 n.3, “federal policies

frequently generate indirect eﬀects on state revenues or state spending and when a State asserts,

for example, that a federal law has produced only those kinds of indirect eﬀects, the State’s claim

for standing can become more attenuated,” id. (cleaned up). Note that this mild language—“can

become attenuated”—does not preclude standing based on indirect costs to States in all cases.

       The Enforcement Priorities Court recognized that the States had asserted an injury due to

monetary costs, see id. at 1970, given their evidence that “the Department’s failure to comply with

those statutory mandates imposes costs on the States” including “that they must continue to

incarcerate or supply social services such as healthcare and education to noncitizens who should

be (but are not being) arrested by the Federal Government.” Id. at 1969. But those indirect injuries

were not judicially cognizable because they were indirect costs that arose from the Federal

Government’s failure to arrest certain criminal aliens. Id. at 1970; see also id. at 1993 (Alito, J.,
dissenting) (describing States’ injuries as increased criminal justice, education, and healthcare

costs due to criminal aliens “who were released” and “not detained” by federal immigration

authorities); id. at 1994 (States’ concrete injuries were from “the cost of criminal supervision of

aliens who should have been held in DHS custody”). That situation does not hold in this case.

       Regardless, Enforcement Priorities did not overrule Dep’t of Commerce v. New York, 588 U.S.

752 (2019), which upheld indirect injury supporting States’ standing to challenge federal agency

action, see id. at 753 (“diminishment of political representation, loss of federal funds, degradation


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of census data, and diversion of resources” were suﬃcient to give States and municipalities

standing to sue over the proposed inclusion of a citizenship question on the 2020 census); see also

Enforcement Priorities, 143 S. Ct. at 1977 (Gorsuch, J., concurring in the judgment) (noting this).

        Lower courts may not preemptively refuse to apply on-point Supreme Court precedent

even where subsequent Supreme Court cases are in tension with it:

        “We reaﬃrm that ‘[i]f a precedent of this Court has direct application in a case, yet
        appears to rest on reasons rejected in some other line of decisions,’ the Court of
        Appeals should follow the case which directly controls, leaving to this Court the
        prerogative of overruling its own decisions.” Agostini v. Felton, 521 U.S. 203, 237
        (1997) (emphasis added) (quoting Rodriguez de Quijas v. Shearson/Am. Express, Inc.,
        490 U.S. 477, 484 (1989)); see also Bryan A. Garner et al., The Law of Judicial
        Precedent 302 (2016). Indeed, even if the tension between the two cases was so stark
        that we could conﬁdently predict Free Enterprise Fund’s impending demise, we
        would still have to follow it—it is the Supreme Court’s “prerogative alone to
        overrule one of its precedents.” State Oil Co. v. Khan, 522 U.S. 3, 20 (1997).
Cochran v. SEC, 20 F.4th 194, 206 n.11 (5th Cir. 2021) (citations truncated), aﬀ’d and remanded sub

nom. Axon Enter., Inc. v. FTC, 142 S. Ct. 890 (2023). This Court should continue to apply Dep’t of

Commerce and existing Fifth Circuit precedent in this area.

        The Supreme Court even took pains to note that it was “not suggest[ing] that federal courts

may never entertain cases involving the Executive Branch’s alleged failure to make more arrests or

bring more prosecutions.” Enforcement Priorities, 143 S. Ct. at 1973. Although the Enforcement

Priorities rule does not apply to this case, its exceptions would apply even if it did.

            a. The PIP Program is aﬃrmative immigration relief—not mere non-
               enforcement.

        The Enforcement Priorities majority noted that “a challenge to an Executive Branch policy

that involves both the Executive Branch’s arrest or prosecution priorities and the Executive

Branch’s provision of legal beneﬁts or legal status could lead to a diﬀerent standing analysis. …

because the challenged policy might implicate more than simply the Executive’s traditional

enforcement discretion.” 143 S. Ct. at 1974. The Court cited two cases challenging DACA as



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exemplars of this exception: DHS v. Regents of Univ. of Cal., 140 S. Ct. 1891, 1906–07 (2020)

(beneﬁts such as work authorization and Medicare eligibility accompanied by non-enforcement

meant that the policy was “more than simply a non-enforcement policy”); and the key Fifth Circuit

precedent of DAPA, 809 F.3d at 154 (Linda R.S. “concerned only nonprosecution,” which is

distinct from “both nonprosecution and the conferral of beneﬁts”)).

       The DACA program counted as the provision of beneﬁts even though that agency action

did not itself supply those beneﬁts. See Regents, 140 S. Ct. at 1902 (explaining that work

authorization for deferred action recipients is “permitted under regulations long predating

DACA’s creation” and that “[p]ursuant to other regulations, deferred action recipients are

considered ‘lawfully present’ for purposes of, and therefore eligible to receive, Social Security and

Medicare beneﬁts”); see also 8 C.F.R. § 274a.12(c)(14) (2022) (work authorization); 8 C.F.R.

§ 1.3(a)(4)(vi) (Social Security); 42 C.F.R. § 417.422(h) (Medicare).

       This applies to this case. The PIP Program makes its recipients eligible for various federal

and state beneﬁts. Under federal law, aliens paroled into the United States become eligible for

various beneﬁts after ﬁve years. These beneﬁts include Medicaid; SNAP (commonly referred to as

“food stamps”); and TANF (commonly referred to as “welfare” payments). See 8 U.S.C.

§ 1641(b)(4) (deﬁning a “qualiﬁed alien” as “an alien who is paroled into the United States under

[8 U.S.C. § 1182(d)(5)] for a period of at least 1 year”); 8 U.S.C. § 1612 (2)(L) (making eligible for

food stamps aliens who have been “‘qualiﬁed aliens’ for a period of 5 years or more”); 8 U.S.C.
§ 1613(a) (making qualiﬁed aliens eligible for “any Federal means-tested public beneﬁt ... 5 years”

after “the date of the alien’s entry into the United States”). Beneﬁciaries of the PIP Program are

also eligible for employment authorization to work in the United States.

       Here, Texas’s injuries are not based on a mere failure to arrest particular parole-eligible

aliens—instead, a grant of parole (like a grant of deferred action) is not mere non-enforcement but

constitutes “aﬃrmative immigration relief”:




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       DACA is not simply a non-enforcement policy. For starters, the DACA
       Memorandum did not merely “refus[e] to institute proceedings” against a
       particular entity or even a particular class. [Heckler v. Chaney, 470 U.S. 821, 832
       (1985)]. Instead, it directed USCIS to “establish a clear and eﬃcient process” for
       identifying individuals who met the enumerated criteria. Based on this directive,
       USCIS solicited applications from eligible aliens, instituted a standardized review
       process, and sent formal notices indicating whether the alien would receive the two-
       year forbearance. These proceedings are eﬀectively “adjudicat[ions].” Id., at 117a.
       And the result of these adjudications—DHS’s decision to “grant deferred
       action”—is an “aﬃrmative act of approval,” the very opposite of a “refus[al] to
       act,” Chaney, 470 U.S. at 831–832. In short, the DACA Memorandum does not
       announce a passive non-enforcement policy; it created a program for conferring
       aﬃrmative immigration relief. The creation of that program—and its rescission—
       is an “action [that] provides a focus for judicial review.” Id., at 832.
DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1906 (2020) (citations truncated). This

exception applies to this case due to the eﬀects that parole has on aliens and States. See Enforcement

Priorities, 143 S. Ct. at 1974 (citing its previous decision reaching the merits of the termination of

MPP causing injuries to States via granting parole to aliens, Biden v. Texas, 142 S. Ct. 2528 (2022),

as raising diﬀerent standing issues). Increasing grants of parole even indirectly through termination

of MPP satisﬁed this test:

       [T]he decision to terminate MPP “is more than a non-enforcement policy.” Regents,
       140 S. Ct. at 1907. Although the termination of MPP itself does not confer
       aﬃrmative beneﬁts, the interaction between the termination of MPP and the lack of
       detention capacity necessarily means more aliens will be released and paroled into
       the Plaintiﬀ States. And parole does create aﬃrmative beneﬁts for aliens such as
       work authorization.
Texas v. Biden, 554 F. Supp. 3d 818, 845 (N.D. Tex. 2021) (emphases in original), rev’d on other

grounds, Biden, 597 U.S. 785. In this case, the challenged agency action—directly increasing the

number of parolees—even more directly causes this injury. When a policy “has increased the

number of aliens released on parole into the United States, including Texas,” MPP, 20 F.4th at 966,

that meant that more aliens were being protected by parole status to use healthcare services and

public education. Id. at 968. This was suﬃcient for Article III standing and remains the case here.




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          Contrary to Defendants’ repeated assertions, ECF No. 77 at 15, 16, 17, Texas’s injuries on

this basis are not indirect—courts in the DACA litigation described these same injuries from

“aﬃrmative immigration relief” that makes aliens eligible for beneﬁts and lawful presence as direct

costs to the States. See DACA, 50 F.4th at 517 (“Texas asserts standing based on direct injury. It

claims that DACA inﬂicts pocketbook injuries on the State in the form of healthcare, education,

and social services costs.”); id. at 520 (“Accordingly, Texas has demonstrated standing based on

its direct injury.”); Texas, 549 F. Supp. 3d at 589 (“DACA recipients’ presence also represents

direct costs in the areas of healthcare, education, and social services.”). Enforcement Priorities

concerned a claim of indirect injury because the challenged agency action was a refusal to take

criminal aliens into custody, a failure to act. But a direct chain of aﬃrmative actions is cognizable

for standing even if the harm is several links down the chain—While a man may not be said to

directly harm another when he callously stands by as he falls (Enforcement Priorities), the man does

directly harm another if he pushes an object that then causes the other to fall (DACA, termination

of Remain-in-Mexico in MPP—and the PIP Program).

          As with the termination of MPP, the DACA program did not directly provide these beneﬁts,

“but an agency action need not directly confer public beneﬁts to be more than nonenforcement.

Instead, removing a categorical bar on receipt of governmental beneﬁts and thereby making a class

of persons newly eligible for them provides a focus for judicial review.” MPP, 20 F.4th at 987

(cleaned up). Paroling aliens makes them eligible for beneﬁts, imposing direct costs on the Plaintiﬀ
States.
             b. Texas has standing because the agency action challenged here constitutes an
                abdication of Defendants’ statutory responsibilities.

          The Enforcement Priorities majority noted that “a plaintiﬀ arguably could obtain review of

agency non-enforcement if an agency ‘has consciously and expressly adopted a general policy that

is so extreme as to amount to an abdication of its statutory responsibilities.’” Id. at 1973–74 (citing

Heckler v. Chaney, 470 U.S. 821, 833 n.4 (1985)). “So too, an extreme case of non-enforcement



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arguably could exceed the bounds of enforcement discretion and support Article III standing.” Id.

at 1974. “But the States have not advanced a Heckler-style ‘abdication’ argument in this case or

argued that the Executive has entirely ceased enforcing the relevant statutes,” so the Court did not

analyze this potential basis for standing. Id.

        The Parole Program is just such an extreme example that constitutes abdication of the

Federal Defendants’ statutory responsibilities to grant parole only on a case-by-case basis for

signiﬁcant public beneﬁt or urgent humanitarian reasons. “Deciding to parole aliens en masse is the

opposite of … case-by-case decisionmaking.” MPP, 20 F.4th at 942. Indeed, “the whole point of

the ‘case-by-case’ requirement that Congress added in IIRIRA” was to prevent DHS from

“parol[ing] aliens en masse.” Id. at 997. Yet the Program relies on precisely the type of

programmatic parole that the INA expressly prohibits.

        Judge Hanen had previously found that States had standing to challenge DAPA based on

this abdication theory. See Texas v. United States, 86 F. Supp. 3d 591, 636–41 (S.D. Tex. 2015)

(Hanen, J.); id. at 641 (“The States claim that, unlike the FDA’s action at issue in Heckler, the

DAPA program is a total abdication and surrender of the Government’s statutory responsibilities.

They contend that the DAPA Directive basically concedes this point, and this Court agrees.”).

Indeed, Judge Hanen relied on APA reviewability under Heckler v. Chaney, id. at 641, to also ﬁnd

standing—the same analysis adopted by the Enforcement Priorities majority.

        The Enforcement Priorities majority found that the States there had “not advanced a Heckler-
style ‘abdication’ argument in that case or argued that the Executive has entirely ceased enforcing

the relevant statutes.” 143 S. Ct. at 1974. And Justice Gorsuch’s concurrence notes that a claim

under the Take Care Clause could be an abdication argument. Id. at 1977-78. Here, the PIP Program

“prevents immigration oﬃcials from enforcing these [limiting] provisions of the” parole statute.

Texas, 549 F. Supp. 3d at 608. As explained above, this violates the Take Care Clause, and the States

therefore have standing based on an abdication argument. Recently, Judge Hanen found States had




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standing on this basis to challenge DACA. See Texas v. United States, 691 F. Supp. 3d 763, 780 (S.D.

Tex. 2023), appeal ﬁled, No. 23-40653 (5th Cir. Nov. 9, 2023).

        Now that the Supreme Court has explicitly approved abdication of statutory responsibilities

as a basis for standing, this Court should ﬁnd standing for the States here on this additional

ground—this case involves allegations of total disregard of Congress’s limits on the parole

authority and thus constitutes an abdication of Defendants’ statutory responsibilities.

            B. Texas’s harms are traceable to the PIP Program and redressable by this Court.

        Injury must be “fairly” traceable to the defendant and be “likely” redressable by the relief

sought. Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). When it comes to the “inherently

imprecise” task of discerning traceability, “common sense” and “basic economics” are “useful

tool[s].” Carpenters Indus. Council v. Zinke, 854 F.3d 1, 6 (D.C. Cir. 2017) (Kavanaugh, J.).

        Here, Texas has shown that the PIP Program will result in a variety of direct economic

harms. Some aliens will return to their home countries when they are not incentivized to stay via

work authorizations and protection from removal. “Texas has satisfied the second requirement for

standing by showing that its costs are ‘fairly traceable’ to [the PIP Program]” because the

rescission of the Program would “cause some recipients to leave, thereby reducing the financial

burdens on the State.” DACA, 50 F.4th at 519. For example, a national survey found 22.3% of

DACA recipients stated that they were likely or very likely to leave the U.S. if they lacked deferred

action that protected them from removal and granted them work authorization. ECF No. 79-6, Ex.

F. ¶ 12. 1 Even illegal aliens who have been in the U.S. for ten years or longer “return to their


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      Defendants contend that Plaintiﬀs’ expert testimony, and therefore, information on which Plaintiﬀs’
expert relied to develop his declaration, should be stricken for failure to comply with Federal Rule of Civil
Procedure 26(a)(2)(B). See ECF No. 77 at 22 n.7. Defendants’ contention is misplaced, and the Court should
not entertain their frivolous argument. Plaintiﬀs can show good cause in deviating from the expert disclosure
deadline. In assessing good cause, the trial court primarily considers the diligence of the party seeking to
alter the existing schedule. See Deghand v. Wal–Mart Stores, Inc., 904 F. Supp. 1218, 1221 (D. Kan.
1995). The party’s explanation for seeking relief from the schedule must demonstrate that it could not have




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countries of origin at a rate of 1% each year.” Id. ¶ 14. Beyond these voluntary departures a number

of these aliens would be removable, “providing incentives for some if not many to leave the United

States, including Texas … and their departure would reduce the State’s Medicaid, social services

and education costs for those individuals and their families who depart with them.” DACA, 50

F.4th at 520. For instance, during the second term of the Obama Administration, “365 persons who

formerly had DACA status were removed from the United States.” Id. ¶ 16. Return migration

patterns have also been observed in the context of “family migrants” who “primarily move to a

new county” so they can live with “their spouse or intended spouse.” Id. ¶ 17. Like many marriages,

a “substantial number of these unions end in divorce.” Id. When this happens, “one or both

partners may choose to relocate, often leading to a return to their country of origin.” Id.

        Defendants claim that “the relevant group of noncitizens is likely to simply remain living

unlawfully in the United States, as they have already been for at least 10 years or more, absent the

KFT process,” ECF No. 77 at 13, but ignore “the consensus estimate [ ] that unlawful immigrants

who have been in the United States for more than 10 years return to their countries of origin at a

rate of 1% each year.” ECF No. 79-6, Ex. F ¶ 14. Defendants also forget the avowed purpose of the

PIP Program: “the KFT process promotes family unity and stability by allowing noncitizen family



met the deadline despite her diligence. Alexander v. Martin, No. 2:08-CV-400, 2010 WL 11531247 (E.D.
Tex. June 24, 2010). In general, “a party must disclose to the other parties the identity of any witness it may
use at trial to present evidence under Federal Rule of Evidence 702, 703, or 705.” Fed. R. Civ. P. 26(a)(2)(A).
The party seeking to introduce expert testimony must make the required expert witness disclosures at least
90 days before trial. Id. 26(a)(2)(D)(i). The problem with Plaintiﬀs’ theory is that barely sixty days have
elapsed since the inception of the case, much less the required ninety. ECF No. 1 (ﬁled August 23, 2024).
Had Plaintiﬀs been required to ﬁle expert witness disclosures ninety days before trial, they would have had
to ﬁle such disclosures well before they even ﬁled this action. Such a position is, of course, counterintuitive
to the purpose of the discovery process—Defendants are simply playing games to prevent Plaintiﬀs from
entering important facts and data into evidence. And indeed, Plaintiﬀs are not engaging in gamesmanship
by oﬀering this expert testimony; instead, they are simply prosecuting their case on the Court’s abbreviated
timeline. Beyond that, Defendants have been on notice of the identity of Plaintiﬀs’ expert from the inception
of this lawsuit—since his declaration was attached to Plaintiﬀs’ motion for preliminary injunction. See ECF
No. 3-1. Good cause therefore exists for the Court to admit and subsequently consider Plaintiﬀs’ expert
witness declaration and the evidence upon which he relied to develop that opinion.



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members to obtain lawful status without separating them from their U.S. citizen spouses and, in

many cases, their U.S. citizen children, which existing legal options for obtaining lawful status

otherwise would often require.” ECF No. 77 at 10. That’s why they call it “Keeping Families

Together.”

       The Notice itself understands that without the Program, at least some PIP-eligible aliens

“must therefore depart the United States and seek an immigrant visa at a U.S. embassy or consulate

abroad,” where “they [would] face uncertainty about whether they will be granted an immigrant

visa and be able to return to the United States.” See 89 Fed. Reg. 67460; see also id. at 67474.

Defendants concede that only “the vast majority of this population would remain in the country”—

so a minority would not. Id. at 67486. The direct eﬀect of the Program leading to reduced ﬂows of

illegal aliens back to their home countries is a feature of the Program: “USCIS also anticipates that

this process will lead to … some noncitizens who would otherwise seek lawful permanent residence

via consular processing, … will now seek adjustment of status.” Id. at 67478. “Absent this process,

for these noncitizens to apply for permanent residence, their U.S. citizen spouses and children

might have to endure prolonged separation from them” and “for an indeﬁnite period.” Id. at 67466.

USCIS predicts this Program will reduce the number of aliens leaving the United States to apply at

an embassy or consulate from abroad, id. at 67468, and predicts that ICE and DOJ will save

resources because fewer aliens will be placed in or remain in removal proceedings, leaving them

free in the country, id. at 67469. Indeed, even aliens with unexecuted ﬁnal removal orders may
apply, id. at 67471–72, 67477, as well as aliens in removal proceedings, id. at 67476. So the Notice

acknowledges that some aliens granted PIP status would otherwise have voluntarily left the United

States to apply for adjustment of status at a consulate in their home countries, with the possibility

of never being permitted to return, and that others would have been removed from the United

States or detained in removal proceedings. In any of these scenarios, those aliens would not be

using Texas’s public education, healthcare, or incarceration programs “for an indeﬁnite period”—




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months or years, or maybe never again, id. at 67460 (“uncertainty about whether they [would] be

able to return to the United States” without the Program).

        In other words, there is at least a “substantial risk,” Monsanto Co. v. Geertson Seed Farms,

130 S. Ct. 2743, 2747 (2010), that the PIP Program keeps some aliens here who would otherwise

leave the country, sometimes for years. See ECF No. 15-3 ¶ 23 (Decl. of Salvador Doe) (“[I]f [the

PIP Program] is blocked from continuing, my only remaining option to obtain lawful permanent

residency would be to do consular processing” in Mexico); ECF No. 15-8 ¶ 18 (Decl. of Foday

Turay) (relaying that some “spouses have been stuck abroad for up to seven years” during consular

processing); ECF No. 15-9 ¶¶ 9–10 (Decl. of Jaxhiel Turay) (acknowledging that without the PIP

Program her spouse would have to “leave the United States” for consular processing and that the

process could take “months or even years”). Indeed, the Supreme Court has found that a State has

standing where federal action will result in a predictable future loss of revenue. See Dep’t of

Commerce, 139 S.Ct. at 2565–66 (predictable loss of future funding is an injury in fact, even if

amount is uncertain.)

        The PIP Program even allows aliens who are “currently in removal proceedings” to request

PIP. 89 Fed. Reg. at 67465 (emphasis added). Ultimately, this gives aliens eligibility for government

beneﬁts they otherwise would not have. This increased incentive for illegal aliens to remain in the

United States imposes massive costs on Texas, and the State will need to spend more money on

law enforcement, education, and Emergency Medicaid because of it. See Natl. Infusion Ctr. Assn. v.
Becerra, 116 F.4th 488, 499 (5th Cir. 2024) (ﬁnding traceability based on changing “incentives” that

are likely to make third parties act in ‘predictable ways.’”) (quoting FDA v. All. for Hippocratic Med.,

602 U.S. 367, 383 (2024)).

        And since Texas challenges government action, “[c]ausation and redressability typically

overlap as two sides of a causation coin.” Carpenters Indus. Council v. Zinke, 854 F.3d 1, 6 n.1 (D.C.

Cir. 2017). In the same way Texas’s injuries are “fairly traceable” to the PIP Program, Texas has

shown its injury is “likely to be redressed by a favorable judicial decision.” Spokeo, Inc., 578 U.S.


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330. “After all, if a government action causes an injury, enjoining the action usually will redress that

injury.” Carpenters Indus. Council, 854 F.3d at 6 n.1. In other words, all the economic harm to Texas

will be prevented—and thus remedied, by vacatur, of the PIP Program. 5 U.S.C. § 706.

        Normally, to satisfy redressability, a plaintiﬀ must show that it is likely, as opposed to merely

speculative, that the injury will be redressed by a favorable decision.” DACA, 50 F.4th at 519–20

(cleaned up). “With special solicitude, however, … [t]he standard is met if there is some possibility

that the requested relief will reduce the harm.” Id. at 520 (cleaned up).

        Redressability holds even if relief must ﬁlter downstream through third parties uncertain to

comply with the result, provided the relief would either: (1) remove an obstacle for a nonparty to

act in a way favorable to the plaintiﬀ; or (2) inﬂuence a nonparty to act in such a way. See, e.g., Dep’t

of Commerce, 139 S.Ct. at 767–68 (“[T]hird parties will likely react in predictable ways.”); Bennett,

520 U.S. at 169 (defendants’ actions need not be “the very last step in the chain of causation”);

NiGen Biotech, L.L.C. v. Paxton, 804 F.3d 389, 396–98 (5th Cir. 2015).

        Judicial relief would reduce harm because “[t]hose presently subject to [the PIP Program]

would be removable if the [P]rogram were ended, providing incentives for some if not many to leave

the United States, including Texas … and their departure would reduce the State’s Medicaid, social

services and education costs for those individuals and their families who depart with them.”

DACA, 50 F.4th at 520.

        Finally, Defendants argue that Plaintiﬀs’ injuries caused by the PIP Program are not
redressable by any relief from this Court because of the limitation on injunctive relief in 8 U.S.C.

§ 1252(f )(1). ECF No. 77 at 28. But Plaintiﬀs explained in detail that none of the relief sought in

this action is barred by that provision. ECF No. 79 at 72–73.

            C. Texas is entitled to special solicitude in the standing inquiry.
        The Enforcement Priorities majority never used the phrase “special solicitude” or addressed

it in its analysis. See Texas v. Cardona, ---F.Supp.3d---, No. 4:23-CV-604, 2024 WL 3658767, at *20

(N.D. Tex. Aug. 5, 2024) (O’Connor, J.) (explaining continued viability of special solicitude


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doctrine post-Enforcement Priorities), appeal ﬁled, No. 24-10910 (5th Cir. Oct. 7, 2024); see also

Missouri v. Biden, 680 F. Supp. 3d 630, 718–19 (W.D. La. 2023) (recognizing the continued viability

of special solicitude doctrine), rev’d in part on other grounds, 83 F.4th 350 (5th Cir. 2023).

        Defendants may argue that Enforcement Priorities overturns the special solicitude doctrine.

But, again, lower courts may not preemptively refuse to apply on-point Supreme Court precedent

even where subsequent Supreme Court cases are in tension with it. Cochran, 20 F.4th at 206 n.11.

        When special solicitude applies, “a state can establish standing without meeting all the

normal standards for redressability and immediacy.” DACA, 50 F.4th at 514. “Normally, to satisfy

redressability, a plaintiﬀ must show that it is likely, as opposed to merely speculative, that the injury

will be redressed by a favorable decision.” Id. at 519–20 (cleaned up). “With special solicitude,

however, … [t]he standard is met if there is some possibility that the requested relief will reduce the

harm.” Id. at 520 (emphasis added; cleaned up). Texas has satisﬁed the test for special solicitude

standing because it has shown that (1) there is “a procedural right to challenge the action in

question” and (2) the challenged action “aﬀect[ed] one of the State’s quasi-sovereign interests.”

DACA, 50 F.4th at 514 (citing DAPA, 809 F.3d at 151-52).

                1. Texas has a procedural right to challenge the agency action here.

        Plaintiﬀs in this case established a procedural right to challenge the Parole Program under

the APA because they have suﬀered a legal wrong and are being adversely aﬀected or aggrieved by

it. See 5 U.S.C. § 702; see also MPP, 20 F.4th at 970 n.10 (noting that such a procedural right is not

limited to notice-and-comment claims but includes substantive claims under the APA).

    As in DACA, Texas here uses its procedural right to “challenge[] DHS’s aﬃrmative decision

to set guidelines for granting lawful presence to a broad class of illegal aliens.” DACA, 50 F.4th at

514. “Congress intended for those ‘suﬀering legal wrong because of agency action’ to have judicial

recourse, and the [S]tates fall well within that deﬁnition.” Id. (quoting DAPA, 809 F.3d at 152).

Texas thus satisﬁes the ﬁrst element of special solicitude.




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                   2. The PIP Program aﬀects Texas’s quasi-sovereign interests.

            Texas also satisﬁes the second element because the PIP Program aﬀects its quasi-sovereign

  interests. “‘One helpful indication’ of a quasi-sovereign interest is ‘whether the injury is one that

  the State, if it could, would likely attempt to address through its sovereign lawmaking powers.’”

  DACA, 50 F.4th at 515 (quotation omitted). Indeed, “[a]n agency action may aﬀect a quasi-

  sovereign interest if it is alleged to damage certain ‘sovereign prerogatives [that] are now lodged in

  the Federal Government.’” Id. (quoting Massachusetts, 549 U.S. at 519). The PIP Program’s

  pressure on Texas to change its laws relating to its prison system, public education system, and

  participation in the Medicaid program gives “rise to a quasi-sovereign interest.” DACA, 50 F.4th

  at 515.

            In DACA, the Fifth Circuit concluded that the State’s interest in classifying aliens was a

  quasi-sovereign interest. Id. The PIP Program implicates those quasi-sovereign interests just as the

  DACA Memorandum did. If Plaintiﬀs sought to change the classiﬁcations of parole recipients to

  alleviate their injuries, they would be threatened with federal preemption. The Fifth Circuit

  acknowledged these federal preemption concerns in DACA, concluding that “DACA implicates

  preemption concerns” because it classiﬁes aliens and their status, which is a power only the federal

  government can exercise. Id. at 516. “An attempt by Texas to establish an alternative classiﬁcation

  system or work authorizations would be preempted, despite the State’s likely interest in doing so.”

  Id. (citing Arizona, 567 U.S. at 409). The same is true under the PIP Program.

II.   Plaintiﬀs have a right to challenge and this court has jurisdiction to review the PIP
      Program under the APA.
               A. Plaintiﬀs are within the zone of interests and have a cause of action.

            The Plaintiﬀ States are well within the zone of interests of the INA for APA purposes, and

  numerous courts across this country have had no diﬃculty ﬁnding as much. The Defendants vastly

  overstate the challenge of the zone of interests test, which the Supreme Court has characterized as

  “not especially demanding.” Lexmark Intern., Inc. v. Static Control Components, Inc., 572 U.S. 118,



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130 (2014) (quotation omitted). A party’s interests must only be “arguably within the zone of

interests to be protected or regulated by the statute.” Match-E-Be-Nash-She-Wish Band of

Pottawatomi Indians v. Patchak, 567 U.S. 209, 224 (2012). “[T]he statute in question need not

indicate that Congress intended to beneﬁt the plaintiﬀ’s interests.” Wyoming ex rel. Clark v. United

States, 539 F.3d 1236, 1243 (10th Cir. 2008).

       It should come as no surprise, therefore, that courts routinely hold that States “have an

interest in seeing the INA enforced, and in participating in notice and comment to voice their

concerns.” DACA, 50 F.4th at 521; see also DAPA, 809 F.3d at 152 (“[T]he states are within the

zone of interests of the Immigration and Nationality Act (“INA”); they are not asking us to

‘entertain citizen suits to vindicate the public’s nonconcrete interest in the proper administration

of the laws.’” (quoting Massachusetts, 549 U.S. at 516–17). There are several reasons States are

within the zone of interests of the INA, including because States “bear[ ] many of the consequences

of unlawful immigration.” DAPA, 809 F.3d at 163 (quoting Arizona v. United States, 567 U.S. 387,

397 (2012)) (“Texas satisﬁes the zone-of-interests test not on account of a generalized grievance

but instead as a result of the same injury that gives it Article III standingCongress has explicitly

allowed states to deny public beneﬁts to illegal aliens.”). Another reason the States have an interest

in INA enforcement is the quasi-sovereign interest in protecting its territory, an interest inherently

intertwined with federal control over immigration law. See DAPA, 809 F.3d at 151–52; Arizona, 567

U.S. at 417 (“As a sovereign, Arizona has the inherent power to exclude persons from its territory,
subject only to those limitations expressed in the Constitution or constitutionally imposed by

Congress. That power has long been recognized as inherent in sovereignty.”) (Scalia, J., concurring

in part and dissenting in part). The Defendants’ claim that “immigration enforcement is

exclusively the province of the federal government and the Executive,” ECF No. 77 at 29, ignores

the quasi-sovereign interests of the States in protecting both their people and territory, and the

impact immigration policy has on State ﬁscs, which courts have recognized as interests intimately

tied to our system of federalism.


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       Finally, precedent is not limited to the broad assertion of standing under the INA. Prior

courts have held that the States have both Article III standing and prudential standing under the

APA zone of interests test speciﬁcally to challenge parole policy under 8 U.S.C. § 1182(d)(5)(A)

because of the impact such policies have on their duty to manage the public welfare, including both

statutorily required spending and voluntary additional spending due to compelling humanitarian

crisis. See New Mexico v. McAleenan, 450 F. Supp. 3d 1130, 1174 n.5 (D.N.M. 2020) (“[P]arties such

as state and local governments that can show that the United States’ parole decisions were made

contrary to ‘signiﬁcant public beneﬁt’ under 8 U.S.C. § 1182(d)(5)(A), are at least ‘arguably’ within

the statute’s zone of interests.”); id. (“[W]here a party, such as a state or local government, faces

harm from the United States’ decision to parole asylees, that party is within § 1182(d)(5)(A)’s

interests.”); id. at 1184 (recognizing that even voluntary expenditures on parolees may confer

Article III standing where parole polices “harm [the State’s] quasi-sovereign interests in the health

and safety of its citizens in general”); id. (“Increased use of state-funded services is an injury

suﬃcient for Article III standing.”).

           B. The PIP Program is ﬁnal agency action.

       The PIP Program is ﬁnal agency action, which the Fifth Circuit’s most relevant precedent

instructs, should be addressed ﬁrst because “that analysis contextualizes the standing inquiry.”

Texas v. EEOC, 933 F.3d 433, 441 (5th Cir. 2019). Finality ﬁnds its origins in the APA which only
allows judicial review of “ﬁnal” agency action. 5 U.S.C. § 704. Agency action is “ﬁnal” for the

purposes of judicial review if two conditions are met: (1) the agency action “mark[s] the

consummation of the agency’s decisionmaking process” and is not “merely tentative or

interlocutory [in] nature,” and (2) the action determines “rights or obligations” and imposes “legal

consequences.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (cleaned up). The Supreme Court

has long taken a pragmatic approach to ﬁnality, viewing the APA’s ﬁnality requirement as

“ﬂexible.” EEOC, 933 F.3d at 441 (cleaned up). Both ﬁnality prongs are satisﬁed here.

       The Notice marks the consummation of DHS’s decision-making. The Fifth Circuit


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recognizes that even “guidance letters can mark the ‘consummation’ of an agency’s decision-

making process.” Nat’l Pork Producers Council v. EPA, 635 F.3d 738, 755 (5th Cir. 2011). “[T]he key

question [for the ﬁrst ﬁnality prong] is whether [the agency action] is ‘subject to further agency

review.’” Clarke v. Commodity Futures Trading Comm’n, 74 F.4th 627, 638 (5th Cir. 2023); Data

Mktg. P’ship, LP v. United States Dep’t of Lab., 45 F.4th 846, 854 (5th Cir. 2022). Here,

implementation of the PIP Program, like termination of the Migrant Protection Protocols (MPP)

in MPP, 20 F.4th 928, 948 (5th Cir. 2021), alters the status quo and determines DHS’s approach

to parole in place for a speciﬁed population of illegally present aliens, satisfying the ﬁrst prong.

       The Notice also binds DHS and imposes legal consequences, meeting the second ﬁnality

prong. Generally, when an agency “loses discretion” because of an action, “[t]hat’s textbook ﬁnal

agency action.” Data Mktg. P’ship, LP, 45 F.4th at 854. Even partial removal of discretion suﬃces.

Clarke, 74 F.4th at 638. The Notice here mandates parole approvals, evidenced by the 100%

approval rate. See ECF No. 79-2, Ex. B. at 267; Texas v. United States, 86 F. Supp. 3d 591, 670 n.101

(S.D. Tex. 2015), aﬀ’d, DAPA, 809 F.3d 134. Even if approval were not mandatory, the presumption

that satisfying the PIP Program eligibility requirements satisﬁes the statutory signiﬁcant public

beneﬁt requirement is mandatory. See 89 Fed. Reg. at 67465. Agency documents that bind the

agency to a particular legal position, such as the Notice, are substantive rules and thus ﬁnal. Syncor

Int’l Corp. v. Shalala, 127 F.3d 90, 94 (D.C. Cir. 1997); DAPA, 809 F.3d at 171.

       The Notice establishes eligibility for a unique program, altering the rights of aliens and
imposing obligations on DHS and imposing costs on the States. Defendants argue that because the

PIP Program must be implemented through individual grants of parole, it cannot be ﬁnal. ECFF

No. 77 at 31. But that would mean no “rules” under the APA could ever be ﬁnal, as they must

always be implemented through “orders.” Guidance ending the Migrant Protection Protocols in

Biden v. Texas, for example, had to be carried out by DHS staﬀ, yet the guidance “resulted in ‘rights

and obligations [being] determined.”’ 597 U.S. at 808 (citation omitted).

        As the Fifth Circuit has noted, the existence of substantial legal consequences aﬃrms that


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an action is ﬁnal. EEOC, 933 F.3d at 441. Thus, the PIP Program constitutes ﬁnal agency action

under the APA.

            C. The PIP Program is reviewable under the APA.

        The APA establishes a “basic presumption of judicial review for one suﬀering legal wrong

because of agency action.” Regents of the Univ. of Cal., 591 U.S. at 16–17. This presumption can only

be rebutted if the relevant statute explicitly precludes review or if the action is committed to agency

discretion by law, as clariﬁed in Heckler v. Chaney, 470 U.S. 821 (1985). Neither exception applies

here. Establishing unreviewability is a high bar, and “where substantial doubt about the

congressional intent exists, the general presumption favoring judicial review of administrative

action is controlling.” DAPA, 809 F.3d at 164 (cleaned up). Only a narrow set of matters are deemed

“committed to agency discretion,” such as enforcement decisions or instances where “there is no

law to apply.” Id. at 163. This is not the case here, as Congress provided clear legal criteria for parole

eligibility and a speciﬁc process for determining whether those criteria are met. See 8 U.S.C.

§ 1182(d)(5). Indeed, providing such criteria and curtailing Executive discretion to grant parole was

the express purpose of amending § 1182(d)(5)(A) in IIRIRA.

        First, no statute bars judicial review. Under 5 U.S.C. § 701(a)(1), reviewability is the default

unless statutes expressly preclude it. While the INA states that “no court shall have jurisdiction to

review … any other decision” of DHS that is speciﬁed to be within the agency’s discretion (8 U.S.C.

§ 1252(a)(2)(B)(ii)), courts have repeatedly rejected the idea that this provision bars review of

programmatic challenges like the one here. For example, in MPP, the Fifth Circuit rejected the

argument that § 1252(a)(2)(B)(ii) renders unreviewable “an entire program …aﬀecting thousands

or millions of people,” as opposed to individual cases. MPP, 20 F.4th at 977. Similarly, the Roe v.

Mayorkas court found that § 1252(a)(2)(B)(ii) does not preclude judicial review of DHS’s parole

policies under the APA, since 8 U.S.C. § 1182(d)(5)(A) provides suﬃcient guidance to make the

action reviewable. Roe v. Mayorkas, No. 22-CV-10808-ADB, 2023 WL 3466327, at *8–9 (D. Mass.

May 12, 2023).


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          Second, the PIP Program is not committed to agency discretion by law. It constitutes a

   “rule” under the APA, deﬁned as an “agency statement of general … applicability and future

   eﬀect” that either prescribes law or policy. 5 U.S.C. § 551(4). Heckler’s doctrine does not apply to

   agency rules like the PIP Program; it generally applies to one-oﬀ enforcement decisions, not

   programmatic actions. MPP, 20 F.4th at 978, 984. Even if Heckler were relevant exception to

   reviewability is rebutted because the statute in question provides speciﬁc guidelines for exercising

   parole authority. The Supreme Court stated that DHS’s parole discretion is “not unbounded,”

   being limited to urgent humanitarian reasons or signiﬁcant public beneﬁt, and must be “reasonable

   and reasonably explained” under the standards of the APA. Biden, 597 U.S. at 806–07.

          In short, the PIP Program’s implementation triggers eligibility for various beneﬁts, making

   it subject to judicial review. This action removes barriers to beneﬁt eligibility, providing a clear

   focus for review. DAPA, 809 F.3d at 167 (quoting Heckler, 470 U.S. at 832). Even if Heckler’s

   presumption applied, the statutory criteria guiding parole decisions would override it, ensuring that

   DHS’s exercise of parole is bounded by law and open to APA review. MPP, 20 F.4th at 982; Biden,

   597 U.S. at 806–07.

III.   The PIP Program is unlawful.
              A. The parole statute does not authorize parole in place under the Program.
                  1. Unless Congress has created an exception, Section 1182(d)(5)(A) only
                     authorizes parole into the United States from outside of the Country.

          As the Plaintiﬀ States have explained, the parole statute, 8 U.S.C. § 1182(d)(5)(A), does not

   authorize parole in place, with the singular exception of military families, although other laws, such

   as 48 U.S.C. § 1806(e)(6), 2 may create additional, very limited authorizations for parole in place.



       2 As discussed in the Plaintiﬀ States’ Motion for Preliminary Injunction and State of Agency

   Action, Motion for Summary Judgment, and Trial Brief, ECF No. 79 at 26 n.6, there is some textual
   ambiguity in the CNMI statute as to whether the parole authorized by 48 U.S.C. § 1806(e)(6)(ii)
   permits parole for illegally present aliens or merely authorizes the Secretary to extend pre-existing



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See ECF No. 79 at 23–27. Parole into the United States, as used in the statute, means precisely what

it says, and aliens who are already unlawfully present in the United States cannot be paroled into

the country unless a separate statute explicitly authorizes such parole.

       The Defendants attempt to defend their interpretation with the misleading claim that

Congress and the courts have approved parole in place under § 1182(d)(5)(A). See, e.g., ECF No.

77 at 44, 48. Defendants claim that the Plaintiﬀ States’ “argument would mean that all other

congressionally- and court-approved uses of parole in place are also ultra vires, and Plaintiﬀs do not,

and cannot, point to a single authority supporting so sweeping a result.” Id. at 48. The non sequitur

is the false implication that anyone disputes Congress’s authority to approve parole-in-place. No

party here disputes that Congress has explicitly authorized parole in place for certain aliens, such

as military family members, see NDAA 2020, Pub. L. 116-92 § 1758 (2019) (8 U.S.C. § 1182 note),

nor that Congress had the constitutional authority to do so, see, e.g., Jean v. Nelson, 727 F.2d 957,

965 (11th Cir. 1984) (“In practice, however, the comprehensive character of the INA vastly restricts

the area of potential executive freedom of action, and the courts have repeatedly emphasized that

the responsibility for regulating the admission of aliens resides in the ﬁrst instance with Congress.”)

(emphasis added).

       To the contrary, Plaintiﬀs recognize that Congress can and has explicitly authorized such

parole and recognize that such authorization would be superﬂuous if existing statutory authority

were already legally suﬃcient to support parole in place, particularly where existing regulations
already directed the policy Congress authorized. See United States v. Marek, 198 F.3d 532, 536 (5th

Cir. 1999) (“A statute should be interpreted so as to give each provision signiﬁcance.”); United

States v. Palomares, 52 F.4th 640, 646–47 (5th Cir. 2022) (interpretation that creates surplusage




grants of parole while adjudicating applications for CNMI Resident status. Regardless, if the De-
fendants’ interpretation is correct and § 1806(e)(6) authorizes parole-in-place, then the Defend-
ants’ interpretation of § 1182(d)(5)(A) cannot be correct because limitless authority to grant parole-
in-place to anyone would render § 1806(e)(6) superﬂuous.

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should be permitted only “if [the court] ha[s] no other option).

        Plaintiﬀs also note with respect to the 2020 NDAA that the interpretive power of a “sense

of Congress” statement only indirectly related to the operative language of the action and passed

by a Congress that had no role in drafting the then-existing or current version of § 1182(d)(5)(A) is,

at best limited. See Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts

217–20 (2012) (“The prologue, in other words, is in reality as well as in name not part of the

congressionally legislated or privately created set of rights and duties. It is an aside.”). As directly

relevant here, the language authorizing parole in place for military families is operative language

and would be superﬂuous if the Defendants’ interpretation is correct. The language explaining the

public purpose of such parole is helpful in interpreting the provisions authorizing parole in place for

military families. The general language allegedly alluding to the importance of a general parole in

place authority, even if the Defendants are correctly interpreting it, is of little to no importance. “It

is hard to imagine, for example, that any legislator who disagreed with that aside would vote against

a bill containing all the dispositions that the legislator favored,” such as, in this case, creating new

authority to grant parole in place to certain military family members. Id. at 217.

        The falsehood in the Defendants’ argument is the claim that multiple courts have aﬃrmed

the legality of parole in place. The precedent the Defendants cite is a combination of non-binding,

out-of-circuit dicta from cases about other issues and cases that cut against their argument.

        Ortega-Cervantes and Cruz-Miguel both dealt with the distinction between conditional
parole under 8 U.S.C. § 1226(a) and parole into the United States under § 1182(d)(5)(A). The

Ortega-Cervantes court discussed the history of the distinct concepts of parole, commenting in

passing that it could see no reason the government couldn’t grant parole “to aliens who are currently

present in the United States,” but made the comment in the context of clarifying that the nature of

its holding. Speciﬁcally, the court was not holding that parole in place is illegalbecause that issue

was not before the court. Rather, the court was clarifying that, at a minimum, if parole in place even

was legal, it could only apply “so long as the government makes its intention clear, for example, by


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expressly referencing § 1182(d)(5)(A) and by issuing an I-94 card.” 501 F.3d 1111, 1116 (9th Cir.

2007). The federal government’s oft-cited language is nothing more than dicta clarifying the extent

to which the legality of parole in place was immaterial to the outcomeeither way, the alien in that

case had not been issued parole into the United States, but, instead, conditional parole under

§ 1226(a) that left him ineligible for adjustment of status under 8 U.S.C § 1255(a).

       Similarly, the Cruz-Miguel court dealt with aliens who had been conditionally paroled under

§ 1226(a) but (erroneously) claimed eligibility for adjustment of status based on alleged parole into

the United States under § 1182(d)(5)(A). 650 F.3d 189, 191–92. Like Ortega-Cervantes, the alien

was not eligible for adjustment of status. As in Ortega-Cervantes, the court assumed, in passing,

that “aliens already physically present in the United States who, upon inspection, are placed in

removal proceedings, may be eligible for humanitarian or public beneﬁt parole under

§ 1182(d)(5)(A) by virtue of their status as applicants for admission.” Id. at 198 (citing Ortega-

Cervantes, 501 F.3d at 1116). This dicta has no bearing on the Cruz-Miguel court’s conclusion, was

not litigated, was not based on any reasoning beyond the prior dicta in Ortega-Cervantes, and so

would not be binding even if it were in-Circuit (which it isn’t). See Abdi v. Duke, 280 F. Supp. 3d

373, 387–88 (W.D.N.Y. 2017) (explaining that “in Cruz-Miguel v. Holder, … the court held only that,

in interpreting the phrase ‘paroled into the Untied States’ in 8 U.S.C. § 1255(a) … there was no

statutory ambiguity” about § 1255(a) not including “aliens released on ‘conditional parole’ under

§ 1226(a)(2)(B)”) vacated in part on unrelated grounds sub nom. Abdi v. McAleenan, 405 F. Supp. 3d
467 (W.D.N.Y. 2019).

       The closest the Cruz-Miguel court comes to a meaningful holding relevant to this case is in

the very same paragraph when it clariﬁes that “the executive retains broader authority under

§ 1226(a)(2)(B) to order the release on bond or conditional parole of aliens who have been arrested

and detained pending a ﬁnal removability determination if they pose no risk of harm or ﬂight.” Id.

This holding, clarifying the scope of the INA provision actually at issue in that case and which

petitioners there were litigating, recognizes both that there are limitations on the scope of executive


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discretion under § 1226(a)(2)(B) and that executive discretion is even narrower under

§ 1182(d)(5)(A), reinforcing that the Defendants’ claims to “unreviewable” or “unfettered”

discretion are meritless under settled precedent.

       As Plaintiﬀs have already explained, see ECF No. 79 at 27, the Defendants’ reliance on

Akhtar is particularly misplaced. See ECF No. 77 at 32–33, 44 (citing Akhtar v. Director United States

Citizenship & Immigration Services Mount Laurel Field Oﬃce, No. 23-1577, 2024 WL 1427634 (3d.

Cir. Apr. 3, 2024) (unpublished and nonprecedential)). Akhtar was about advance parole, which, as

the court there explained, “functions as permission to travel for a speciﬁed humanitarian purpose

and thereafter return to the United States.” 2024 WL 1427634 at *3. However, “the actual decision

to parole is discretionary, 8 U.S.C. § 1182(d)(5)(A), and is made at the port of entry.” Id. (emphasis

added). In other words, advance parole is an assurance that, unless the government, in its

discretion, changes its position, an alien departing the country will be granted parole upon that

alien’s return to a port of entry. Id. “Thus, inspection at a port of entry is a mandatory component

of parole, except in the rare circumstance that an applicant has requested and been granted parole

in place. Parole in place is granted sparingly and is generally reserved for active and former U.S.

military members and their families.” Id. Congress has speciﬁcallyand narrowlyauthorized

parole in place only to speciﬁed populations.

       Defendants’ discussion of the structural changes brought about by IIRIRA is also

misguided. To be sure, IIRIRA altered the legal landscape to treat certain unlawfully present aliens
with the “ﬁctive legal status” of an “applicant for admission.” United States v. Gambino-Ruiz, 91

F.4th 981, 989 (9th Cir. 2024). An alien who enters surreptitiously may be considered to have made

a “constructive application” for admission, and thus may be treated as “inadmissible under [8

U.S.C.] § 1182(a)(7).” Id. at 988 (holding that, because § 1182(a)(7) applies to “any immigrant at

the time of application for admission,” it applies to an alien who has constructive applied for

admission by surreptitiously crossing the border).

       However, it is not clear that the explicitly ﬁctive “applicant for admission” status continues


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in perpetuity, including for purposes where such status is beneﬁcial to the alien. See, e.g., Gambino-

Ruiz, 91 F.4th at 989 (“Torres [v. Barr, 976 F.3d 918 (9th Cir. 2020) merely rejected the view that

an alien remains in a perpetual state of applying for admission.”); Ortiz-Couchet v. United States

Atty. Gen., 714 F.3d 1353, 1355–56 (11th Cir. 2013) (per curiam) (“We initially ﬁnd that the IJ erred

as a matter of law in ﬁnding Ortiz and Malpica inadmissible pursuant to 8 U.S.C.

§ 1182(a)(7)(A)(i)(I) because that section only applies to applicants for admission and not to

immigrants like Ortiz and Malpica who sought post-entry adjustment of status while already in the

United States.”); Marques v. Lynch, 834 F.3d 549, 561 (5th Cir. 2016) (expressly adopting the Ortiz-

Couchet distinction between “applicants for admission and … immigrants who sought post-entry

adjustment of status while already in the United States”).

       As the Government explains, the purpose of merging the concepts of “deportation” and

“exclusion” into the concept of “removal” and de-emphasizing physical presence in some areas

was “to remove the incentive for noncitizens to unlawfully enter the country and thereby obtain

more favorable procedural rights.” ECF No. 77 at 42. It makes no sense, then, that IIRIRA would

expand the availability of parole to those who entered surreptitiously and persisted in ﬂouting U.S.

law for years or decades by treating physically present unlawful aliens “as if standing at the border”

for purposes of beneﬁts as well as expedited removal. See ECF No. 77 at 43 (“IIRIRA thus

eliminated the perverse incentive to gain greater rights through surreptitious entry that the 1960

Senate report referenced.”). Rather, it makes more sense that Congress saw no need to further limit
parole when it changed the deﬁnition of “applicant for admission” because parole had always been

understood as a device for permitting entry.

       Moving past the Defendants’ myopic focus on the ﬁctive legal status of “applicant for

admission” to the plain meaning of “into the United States” further supports this reading. See

Merriam-Webster,      Into,   MERRIAM-WEBSTER.COM            DICTIONARY,      https://www.merriam-

webster.com/dictionary/into (last visited Oct. 24, 2024) (“used as a function word to indicate

entry, introduction, insertion, superposition, or inclusion.”). “Into” connotes entry, and “entry,”


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in the immigration context, has been “long understood … to refer to ‘coming from outside’ the

United States.” Torres v. Barr, 976 F.3d 918, 925 (9th Cir. 2020) (quoting United States ex rel

Claussan v. Day, 279 U.S. 398, 401 (1929)).” The connection between “into” and “entry” is

conﬁrmed in the Homeland Security Act of 2002, Pub. L. No. 107-296 (2002) (“HSA”), where

Congress refers to parole as a “form[ ] of permission … to enter the United States.” 6 U.S.C.

§ 202(4); HSA § 402. Unless Congress has authorized parole in place for the speciﬁc population

in question, it has not authorized parole in place; all other populations may only be paroled “into

the United States” from outside of it under the authority of 8 U.S.C. § 1182(d)(5)(A).

       The Defendants’ lack authority to promulgate the PIP Program because its purpose is to

parole people “into the United States” who are already in the United States and are therefore

ineligible for parole. The Program is therefore unlawful and should be vacated.
               2. The PIP Program does not serve an “urgent humanitarian reason” or
                  “signiﬁcant public beneﬁt.”

       The PIP Program is also unlawful because grants of parole under the Program do not serve

an “urgent humanitarian reason” or “signiﬁcant public beneﬁt,” as required by 8 U.S.C.

§ 1182(d)(5)(A). Plaintiﬀs have exhaustively explained why “urgent humanitarian reason” refers to

preventing or alleviating some form of physical harm. See ECF No. 79 at 15–17. Defendants make

no serious eﬀort to defend the program on “urgent humanitarian reasons” grounds nor to refute

the Plaintiﬀ States’ position that physical danger is a touchstone of urgent humanitarian reasons,
nor could they reasonably be expected to. See ECF No. 77 at 35–39 (characterizing asserted

programmatic objectives as “advance[ing] a signiﬁcant public beneﬁt”). There are no urgent

humanitarian reasons to implement the PIP Program.

       That leaves Defendants to claim “signiﬁcant public beneﬁts.” Although they put forward

several arguments, all lack merit. The Defendants oﬀer multiple recitations of the “case-by-case”

standard and claims that many factors will be evaluated, but none of them accord with the reality

revealed by the Notice and the Defendants’ own brieﬁng. The core of the PIP Program is: “The



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Secretary determined that, as appropriate to individual cases, a grant of parole in place to an eligible

spouse or stepchild of a U.S. citizen who meets the criteria outlined in the Notice, does not

represent a national security or public safety threat, and otherwise warrants a favorable exercise of

discretion, will advance a signiﬁcant public beneﬁt for the reasons listed below.” ECF 77 at 35; see

also 89 Fed. Reg. at 67465 (“Granting parole in place …will generally provide a signiﬁcant public

beneﬁt to the United States by” serving the same ﬁve interests listed in the Defendants’ brief ). In

other words, assuming there is no egregious disqualifying factor like evidence that a particular alien

poses a serious national security threat (which should probably make an alien a removal priority

regardless of the PIP Program), paroling the vast mass of aliens who meet the basic eligibility

requirements of the Program is presumed to provide a signiﬁcant public beneﬁt “by: (1) promoting

family unity and stability; (2) strengthening the U.S. economy and the economic position of

families and U.S. communities; (3) advancing diplomatic relationships and key foreign policy

objectives of the United States; (4) reducing strain on limited U.S. government resources; and (5)

furthering national security, public safety, and border security objectives.” 89 Fed. Reg. at 67465.

Each of these justiﬁcations fails because they are not (1) speciﬁc to any given alien receiving parole,

(2) signiﬁcant, or (3) public in nature, and all three elements are required for a grant of parole to

satisfy the signiﬁcant public beneﬁt requirement.

       At the outset, Defendants have made no eﬀort to dispute that programmatic reasoning is

unacceptable and justiﬁcations speciﬁc to the alien being paroled are required. See ECF No. 3 at 6;
ECF No. 79 at 23 (“[E]ven if the Defendants’ justiﬁcations for the Program included urgent

humanitarian reasons or a signiﬁcant public beneﬁtwhich they don’tthe Program would still

be unlawful because it is based on programmatic reasoning, rather than speciﬁed, case-by-case

adjudication.”). But Congress was clear when it added the “case-by-case” requirement to

§ 1182(d)(5)(A) in IIRIRA that “Parole should only be given on a case-by-case basis for speciﬁed

urgent humanitarian reasons … or for speciﬁed public interest reasons.” H.R. Rep. No. 104-469, at

141 (emphasis added). The PIP Program, which creates broad eligibility criteria that are applied by


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rote in 100% of cases does not require speciﬁed reasons why a particular case was adjudicated the

way it was. To the contrary, all cases are adjudicated by the same standard which presumes one or

more of the ﬁve enumerated reasons justiﬁes granting parole. The “urgent humanitarian reason”

or “signiﬁcant public beneﬁt” to be achieved by granting parole must be speciﬁc to the alien being

granted parole; all justiﬁcations for the PIP Program are explicitly programmatic and generic, and,

thus, inadequate under § 1182(d)(5)(A).

       Even if cumulative programmatic justiﬁcations were permissible, the justiﬁcations for the

PIP Program do not rise to the level of signiﬁcance. The Defendants claim that the Secretary has

discretion to deﬁne signiﬁcance and that the term could “conceivably encompass[ ] a wide range

of public beneﬁts.” ECF No. 77 at 37 (quoting New Mexico v. McAleenan, 450 F. Supp. 3d 1130, 1174

n.5 (D.N.M. 2020)). This interpretation ﬂies in the face of the plain text of the statute and manifest

intent of Congress. The Defendants accurately note that Congress declined to deﬁne “signiﬁcant

public beneﬁts” (which only makes sense parole is for individual, fact-intensive emergencies,

and it makes no sense to try to catalogue every possible such emergency) but fail to grapple with

the obvious fact that it was a change in the law. See In re Crocker, 941 F.3d 206, 213 (5th Cir. 2019)

(“When Congress makes a signiﬁcant change in language when it amends an existing statute, it

‘presumptively connotes a change in meaning.’” (quoting Antonin Scalia & Bryan A. Garner,

Reading Law: The Interpretation of Legal Texts 256 (2012)).

       The prior iteration of the parole statute required that parole be granted “strictly in the

public interest,” but Congress sought to limit the use of parole in IIRIRA by requiring the higher

“signiﬁcant public interest” standard under the section heading “LIMITATION ON THE USE

OF PAROLE.” IIRIRA, Pub. L. No. 104-208, 110 Stat. 3009, § 609 (1996). IIRIRA cannot

reasonably be read to confer broad discretion on the Executive Branch; to the contrary, it

unambiguously curtails executive power, constraining the Secretary’s discretion to exceptional

cases. Declaring that granting parole to each of at least 550,000 people (likely well over a million)

is manifestly not constraining discretion to exceptional cases, and so is contrary to the statute.


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       Defendants’ reliance on New Mexico v. McAleenan is meritless. See ECF No. 77 at 39 (citing

New Mexico, 450 F. Supp. 3d at 1174 n.5). The quoted passage is not even an interpretation of

§ 1182(d)(5)(A), but of the APA. The language is dicta discussing the APA “zone of interests” test

and noting, in passing, that if the federal government’s standing had been challenged, the

government would “arguably” have interests protected by § 1182(d)(5)(A) because the “vague

standard conceivably encompasses a wide range of public beneﬁts.” New Mexico, 450 F. Supp. 3d at

1174 n.5. But the federal government’s standing was not at issue, nor was the scope of the

“signiﬁcant public beneﬁts” requirement. Id. The court’s passing comment about what “arguably”

might “conceivably” be encompassed in the term, if, hypothetically, it were at issue and if the

federal government’s standing were challenged, is a far cry from any court actually holding that

“allowing an individual to carry on their employment in the United States” constitutes a signiﬁcant

public beneﬁt. Id. The Defendants’ claim that “Plaintiﬀs fail to acknowledge cases recognizing

other ‘signiﬁcant public beneﬁt’ justiﬁcations for parole” is false: The cases the Defendants cite do

not “recognize other ‘signiﬁcant public beneﬁt’ justiﬁcations for parole.” See ECF No. 77 at 37

(citing New Mexico, 450 F. Supp. 3d at 1174 n.5 and Grand River Enters. Six Nations, Ltd. v. Pryor,

425 F.3d 158, 169 (2d Cir. 2005) (addressing the Commerce Clause without reference to parole, the

INA, immigration, or the deﬁnition of “signiﬁcance”).

       As discussed further below, the actual holding in the relevant portion of New Mexicothe

reason for the dictais that States and cities are within the “zone of interests” to challenge parole
policy because “states and cities ‘arguably’ have an interest that 8 U.S.C. § 1182(d)(5)(A) protects.”

New Mexico, 450 F. Supp. 3d at 1174 n.5. To the extent that case is useful here, it is only because it

illustrates how meritless are the Defendants’ APA zone-of-interests arguments.

       Rather, context makes clear that signiﬁcance requires something more than a stark

mismatch between the Biden-Harris Administration’s policy preferences and the policies Congress

has established by law. ECF No. 79 at 18–21. Indeed, Congress has made it clear that even the

primary justiﬁcation for the PIP Program—family unity—is not enough; no matter how important


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it might be to the individual aliens, it does not constitute a signiﬁcant public beneﬁt. In the 2020

NDAA, Congress could have established a presumption that family unity constitutes a signiﬁcant

public beneﬁt, but it did not. Id.at 20. Instead, Congress directed the Secretary to consider whether

a grant of parole “would enable military family unity that would constitute a signiﬁcant public beneﬁt.”

Pub. Law. 116-92 § 1758 (2019) (8 U.S.C. § 1182 note) (emphasis added). Congress further

explained how the Secretary should determine that: “[D]isruption to military family unity should

be minimized in order to enhance military readiness and allow members of the Armed Forces to

focus on the faithful execution of their military missions and objectives.” Id. In other words, “family

unity” is not a signiﬁcant public beneﬁt, but it may serve other signiﬁcant public beneﬁts where it

impacts public interests like military readiness and mission accomplishment.

       The other justiﬁcations fare no better. The marginal impact that granting legal work

authorization to any given illegal alien (who, as the Notice acknowledges, is likely already working

illegally in this country) will have on their communities is so insigniﬁcant as to be unquantiﬁable.

Indeed, the Notice doesn’t even attempt to quantify that impact on the public, focusing instead

solely on the impact to aliens and their families. See 89 Fed. Reg. at 67480 (“DHS estimates that

this process would result in increased earnings for the population that gains work authorization by

removing the ‘wage penalty’ that aﬀects undocumented individuals in the United States.”).

       The third and fourth justiﬁcations, foreign policy and administrative convenience, are both

implausible (Is mass amnesty really the best way to get foreign partners to work with us? Does
creating a process for over a million aliens to apply for beneﬁts somehow reduce paperwork?) and

reliant on the cumulative eﬀect of mass parole, with no individual grant of parole providing a

signiﬁcant public beneﬁt. The vague ﬁfth alleged beneﬁtnational security and border

securityis entirely unsubstantiated, implausible (how many terrorists will decide that now is the

time to submit biometric data?), and, quite frankly, would be better served by administration

enforcement policies designed to uphold our country’s immigration laws, rather than the Harris-

Biden Administration’s preferred “open borders” approach. Nothing here is signiﬁcant.


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        The ﬁrst and second justiﬁcationsthe only even vaguely plausible onesalso don’t serve

public interests. As the Plaintiﬀs have explained, parole is not intended to be granted solely for the

beneﬁt of the alien or their immediate family, but for the beneﬁt of the public at large. This is why

the traditional justiﬁcations for parole tend to involve the alien helping law enforcement and

criminal investigation; it’s also why Congress directed the Secretary to look to the public aspects

of military service (i.e., mission accomplishment and military readiness) when it authorized him to

grant parole in place to certain servicemembers and military family members.
                3. The PIP Program does not consider applicants on a case-by-case basis.

        Defendants argue that § 1182(d)(5)(A) has no numerical limitation and that their recitation

of “case-by-case” suﬃces for DHS to mass-parole at least 550,000, and likely over 1.3 million,

illegal aliens into a legal status. But this Court is under no obligation to shield its eyes from reality,

and the Defendants’ own characterization of the program belies their rote recitation of legal

requirements. The core policy of the program is to establish that anyone who meets the baseline

requirements of the Notice is presumptively entitled to parole for the purpose of becoming an LPR.

See ECF No. 77 at 35 (“The Secretary determined that, as appropriate to individual cases, a grant

of parole in place to an eligible spouse or stepchild of a U.S. citizen who meets the criteria outlined

in the Notice, does not represent a national security or public safety threat, and otherwise warrants

a favorable exercise of discretion, will advance a signiﬁcant public beneﬁt for the reasons listed

below.”); 89 Fed. Reg. at 67465 (“Granting parole in place … will generally provide a signiﬁcant

public beneﬁt to the United States … .”). We also know that the DHS employees implementing the

program apply the Notice’s eligibility requirements by rote. See ECF No. 79-2, Ex. B. at 267 (100%

of all applications adjudicated have been granted).

        The truth is that the availability of parole under the PIP Program is no more case-by-case

than the availability of movie tickets are your local theater. To be sure, a patron without money to

buy a ticket, or who is too young to see the movie according to MPAA guidance, or who is known

to behave disruptively in movie theatres might be denied access to his preferred cinematic oﬀering,


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but no one would contend that the theatre was issuing tickets “only on a case-by-case basis,” 8

U.S.C. §1182(d)(5)(A). Likewise, the aliens deemed inadmissible under § 1182(a) do not face

exclusion from the United States on a case-by-case basis merely because there are exceptions to

some of the grounds for inadmissibility or because they may only be treated as inadmissible after

they apply for admission.

       If the Defendants hyper-literal understanding of “case-by-case” were correct, every

application for anything would be considered adjudicated on a case-by-case basis because

adjudicators don’t simultaneously adjudicate multiple applications. An application for a Netﬂix

account requires the applicant to establish that he has the means to pay and hasn’t been excluded

from holding such an account (perhaps for sharing a prior account with friends, for example), but

that doesn’t make signing up for Netﬂix an individualized process any more than the possibility

that an applicant for the PIP Program who is denied as ineligible because they have a criminal

history or are a threat to national security makes the PIP Program a bona ﬁde case-by-case

evaluation.

       The Defendants’ bland recitation that “in addition to satisfying all other discretionary

factors, applicants must demonstrate an urgent humanitarian reason or signiﬁcant public beneﬁt

applies in their individual case,” ECF No. 77 at 39, runs counter to their own acknowledgement

just a few pages earlier that the PIP Program establishes a mass presumption of signiﬁcant public

beneﬁt applicable to all applicants who meet the bare minimum requirements, based on the ﬁve
purported programmatic beneﬁts, ECF No. 77 at 35–36. The reality, borne out both by common

sense and the Notice itself, is that this is a mass amnesty for hundreds of thousands or millions of

people with “individualized” attention limited in most, if not all, cases to the basic eligibility

requirements of the Program.

       The Court need not blind itself to reality. The Defendants’ rote recitations that applications

will be adjudicated on a “case-by-case” basis are nowhere near enough to satisfy the requirements

of 8 U.S.C. §1182(d)(5)(A) and are belied by the massive number of illegal aliens Defendants


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predict will be paroled, the presumption of eligibility created by the Notice, and the federal

government’s operating assumption that all or substantially all of the eligible population will apply

for and be granted parole. See, e.g., 89 Fed. Reg. 67481–88 (estimating costs and beneﬁts, including

the estimated $1.15 billion in increased earnings for Program-eligible aliens, based on all or

substantially all of the eligible aliens participating in the Program).

                 4. The PIP Program violates Section 1182(d)(5)(A)’s temporariness
                    requirement.

          Defendants have added nothing to their prior claim that the parole provided under the PIP

Program is temporary and so the program is legal. Compare ECF No. 47 at 40 with ECF No. 77 at

47–48. The Plaintiﬀ States addressed this extensively in their Combined Updated Motion. ECF

No. 79 at 27–30. It suﬃces to note here that the statute is unambiguous. A statute authorizing the

Secretary to “parole into the United States temporarily … any alien applying for admission to the

United States,” then commanding that “when the purposes of such parole shall … have been

served the alien shall forthwith return or be returned to the custody from which he was paroled”

contemplates, on its face, that the physical presence enabled by parole will be temporary, not that

the legal status of “parolee” should be issued as a temporary stepping stone on the path to

permanent lawful residency. Compare Ireda v. Att’y Gen. of the United States, 25 F.4th 193, 197 (3d

Cir. 2022) (recognizing the “well-settled principle that Congress did not intend for parole of an

alien to constitute an alien’s legal entry or admission to the United States.” (quoting Ibragimov v.

Gonzales, 476 F.3d 125, 134 (2d. Cir. 2007)) with 89 Fed. Reg. at 67465–66 (“This use of the

Secretary’s statutory parole authority addresses a barrier that currently prevents many of these

otherwise eligible noncitizens from obtaining LPR status … .”). Again, the “barrier” represented

is the policy Congress established by statute combined with the fact that the “otherwise eligible

noncitizens” are inadmissible, ineligible for adjustment of status, and illegally present in the United

States.




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           B. The PIP Program is intended to and does contravene existing immigration law.

       As Plaintiﬀs already pointed out, ECF No. 79 at 12–30, the PIP Program violates the clear

language of the parole statute, the INA, and the amendments that Congress made to the INA

through IIRIRA, the legislative history conﬁrms this interpretation. The Defendants’ only

rejoinder is to argue that because Congress has provided other methods for aliens to adjust status

without leaving the United States, that means the PIP Program is legal too. But the Defendants

ignore a crucial distinction. The two examples that they cite—8 U.S.C. § 1255(a) and 8 U.S.C.

§ 1229b(b)(1) (see ECF No. 79 at 46-48)—establish detailed procedures and criteria for adjusting

status that were carefully crafted by Congress. Then, Defendants go on to claim that Section

1182(d)(5)(A)—a statute that says nothing about adjustment of status and which imposes ﬁrm

restrictions on its use, and which is only to be used to allow aliens “into the United States

temporarily” (emphasis added)—gives DHS carte blanche to make up whatever new program it

wants to allow unlawfully present aliens to adjust status and remain permanently in the United

States. One of these things is not like the other.
       Congress would not have adopted speciﬁc standards in 8 U.S.C. § 1255(a) and 8 U.S.C.

§ 1229b(b)(1) for allowing aliens to adjust status while in the United States just for one small

subparagraph in another part of the INA to confer on the executive the authority to replace all of

that with its own alternate system. It is brazen indeed for the Defendants to claim that a section

that Congress in IIRIRA titled “LIMITATION ON USE OF PAROLE.” IIRIRA, Pub. L. No. 104–

208, 110 Stat 3009, § 602 (1996) (emphasis added), confers limitless authority to confer lawful

status on hundreds of thousands of unlawfully present aliens, in direct contravention of the INA’s

requirements for adjustment of status, unlawful presence, and waivers of that unlawful presence.

       Indeed, the very text of 8 U.S.C. § 1255(a) and 8 U.S.C. § 1229b(b)(1) make clear that

Congress did not intend for PIP Program beneﬁciaries to be able to adjust status without leaving the

country. 8 U.S.C. § 1255(a), states that “an alien who was inspected and admitted or paroled into

the United States” may adjust to LPR status. Id. (emphasis added). If the Plaintiﬀs are correct that



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“into the United States” means that parole may only be conferred upon aliens who are in the

process of physically entering the United States and may not be conferred on aliens already present,

then Congress made clear its intent that aliens who are already unlawfully present in the United

States are not entitled to adjust status while within the United States. The PIP Program seeks to

circumvent this clear language of the statute.

       Nor does 8 U.S.C. § 1229b(b)(1) help the Defendants’ argument. That section allows for

the cancellation of removal and adjustment of status for aliens in removal proceedings, but only for

aliens who meet four strict qualifying conditions: the alien must (1) have “been physically present

in the United States for a continuous period of not less than 10 years”; (2) have “been a person of

good moral character during such period”; (3) have not been convicted of certain crimes; and (4)

“establish[] that removal would result in exceptional and extremely unusual hardship to the alien's

spouse, parent, or child, who is a citizen of the United States or an alien lawfully admitted for

permanent residence.” 8 U.S.C. § 1229b(b)(1). Yet, the PIP Program seeks to circumvent these

carefully established criteria and replace them with standards more to the Defendants’ liking.

However, they do not have the power to do this—only Congress does.

       When Congress wrote the statutory section that establishes the procedures for adjustment

of status, 8 U.S.C. § 1255, it used 3,444 words. When Congress wrote the section that establishes

the procedures for cancellation of removal and adjustment of status, 8 U.S.C. § 1229b, it used 2,534

words. In contrast, Congress only used 190 words to draft the statutory subsection that confers the
parole authority. Id. § 1182(d)(5). The Defendants are unlawfully trying to shoehorn their

gargantuan new system for the adjustment of status, one that grants eﬀective amnesty of unlawfully

present aliens, into the “modest words, vague terms, [and] subtle devices” of a small subsection

buried in the middle of one section out of the many sections of the INA. West Virginia v. EPA, 597

U.S. 697, 723 (2022) (cleaned up).

       “Congress ... does not ... hide elephants in mouseholes.” Whitman v. American Trucking

Associations, 531 U.S. 457, 468 (2001). And Congress did not hide the elephant of an entirely new


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system in the mousehole of Section 1182(d)(5). Defendants do not contest that the PIP Program

involves deep issues of economic or political signiﬁcance. Yet, they argue that the Major Questions

Doctrine does not apply here, claiming that “[t]here is no ‘major question’ to trigger the doctrine

because Congress ‘sp[oke] clearly’ and explicitly ‘when authorizing’ other statutory paths for

unlawfully present noncitizens to become a LPR without being granted a waiver for the unlawful

presence ground of inadmissibility.” ECF No. 77 at 47 (quoting Ala. Ass’n of Realtors v. HHS, 594

U.S. 758, 764 (2021)). But Congress has spoken clearly. It has clearly stated that the parole power

is limited. And it has established speciﬁc conditions for adjustment of status while in the United

States that do not apply to PIP Program beneﬁciaries. The Defendants cannot use the parole

statute—which does not speak clearly about adjustment of status, unlawful presence, and

waivers—to circumvent the requirements that Congress has established.

       Finally, Defendants justify parole in place as justiﬁed by its “longstanding interpretation”

of its parole authority. But historical practice “does not, by itself, create power,” DAPA, 809 F.3d

at 184 (quoting Medellin v. Texas, 552 U.S. 491, 532 (2008)).

           C. The Notice is arbitrary and capricious.

       Despite the detailed explanation of the many arbitrary and capricious aspects of the

Noticemany of which may have been avoidable if the Notice had been subject to the legally

required notice and comment processthe Defendants respond with bland dismissiveness. The
Defendants downplay the scope of APA review, but “[t]his review ‘is not toothless.’” MPP, 20

F.4th at 989. Quite the contrary: “after Regents, it has serious bite.” Wages & White Lion Invs., LLC

v. FDA, 16 F.4th 1130, 1136 (5th Cir. 2021). To withstand scrutiny, an agency must “articulate a

satisfactory explanation for its action including a rational connection between the facts found and

the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.

29, 43 (1983). Defendants have failed to address important aspects of the issue, and so the Notice

is arbitrary and capricious.




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        Defendants failed to grapple in any meaningful way with the States’ reliance interests,

contending instead that none are implicated because “States are not regulated by the KFT

Process.” ECF 77 at 49. The Fifth Circuit rebuﬀed such reasoning as “astonishing[ ]” in the MPP

case, where States’ were found to have harms from parole. See MPP, 20 F.4th at 990. As the court

there observed, States have overwhelming reliance interests in how the federal government

executes its immigration laws: “Given the Supreme Court’s explanation that border states ‘bear[ ]

many of the consequences of unlawful immigration,’ one would expect a ‘reasonable and reasonably

explained’ memo to mention the issue at least once.” Texas, 20 F.4th at 989 (quoting Arizona v.

United States, 567 U.S. 387, 397 (2012)). That is precisely the case here—the Defendants fail to

consider even once the States’ interests in preventing unlawful immigration. As in MPP, the

Defendants merely deny that States have any reliance interests, despite the Fifth Circuit’s repeated,

unambiguous rulings to the contrary: “that ‘contention is squarely foreclosed by Regents.’” MPP,

20 F.4th at 990 (quotation omitted).

        The truth is that the States rely heavily on existing immigration policies in a wide variety of

ways, including when crafting budgets, allocating resources, making public health policy, and

establishing their own policies towards migrants (such as which immigrants are issued drivers

licenses, which are entitled to what public beneﬁts, etc.). This reliance includes what should be the

uncontroversial proposition that the Administration will uphold the INA, not issue an unlawful

amnesty to hundreds of thousands or millions of illegal aliens. But, as in the MPP case, Defendants
fail to account for such reliance interests.

        Defendants also ignored the related question of costs to the States. Despite admitting that

a “comprehensive quantiﬁed accounting of local and state ﬁscal impacts speciﬁcally due to this

parole in place process is not possible,” 89 Fed. Reg. at 67478, Defendants proceeded to use

generalizations about state beneﬁts laws and optimistic estimates about tax revenues to conclude

that “no increased expenses were predicted” and “any marginal increases in state expenditures

due to the KFT process would be more than outweighed by … increased economic activity,” ECF


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No. 77 at 50. This argument is ﬂawed in several respects. First, Defendants admit that they have

no basis for their assumption because they cannot quantify the costs to the States. Second, even if

there were oﬀsetting revenues, the Notice would still require the States to reallocate their budgets

to account for the new expenses imposed by the Notice.

       Most importantly, the bland assumption that costs round to zero is simply unsupportable.

Texas has detailed some of the many costs the Notice imposes on the States. ECF No. 79 at 43. To

recap simply, this program is expensive for the States, and the Defendants show no concern for or

acknowledgment of that reality.

       Elsewhere, Defendants simply ignore the context of their actions, such as when they claim

that limiting parole to aliens physically present in the United States before the Notice was

promulgated prevents it from having any impact on incentives for other potential migrants. But the

context of the PIP Program is a Biden-Harris Administration that has worked tirelessly to throw

open our borders, eviscerate enforcement of our immigration law, and create amnesty programs at

every turn. The PIP Program provides amnesty for aliens who arrived in this country as recently as

this summer, but it also includes an explicit claim of “unfettered discretion” over parole and

establishes a precedent that such discretion will be exercised beyond any boundaries Congress

could conceivably have intended. When an administration that has (unsuccessfully) tried to get

Congress to grant amnesty to over 11 million illegal aliens in one proposal, see U.S. Citizenship Act

of 2021, H.R. 1177, 117th Cong. (2021), and tried to sneak itself broader parole power in another,
see ECF No. 79, Ex. A (“Attorney Decl.”), Ex. 15, promulgates a Notice that grants amnesty to over

1 million aliens based on its newfound “unfettered discretion,” and does so explicitly to evade the

“barriers to adjustment of status” embodied in our laws, the message to other potential unlawful

migrants is clear. The PIP Program conveys that the door is open—the Administration will help

the next batch of illegal migrants get around “barriers to adjustment of status” too, and now is the

time to illegally enter the United States.




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        Elsewhere, Defendants rely on word games to deny that the PIP Program treats illegal aliens

in the workforce as a positive, despite congressionally established policy to the contrary. Such

treatment, which directly contradicts statutory policy, is enough on its own to render the entire

Program arbitrary and capricious. The Defendants claim it is not a part of the Program, because

the PIP Program “is expected to decrease the number of noncitizens working without employment

authorization and will not provide employment authorization to anyone present in the United

States without admission or parole.” ECF No. 77 at 52. This presentation is, at best, misleading.

The PIP Program operates exclusively to the beneﬁt of illegal aliensevery single person who

stands to gain parole, followed by work authorization, from the program was an illegal alien on

August 19, 2024. The program illegally grants mass parole, in violation of the requirements of

§ 1182(d)(5)(A), to hundreds of thousands or millions of unlawfully present aliens, making them

eligible to apply for work authorization. The Defendants’ comment may be literally correct, but

only because the Program itself illegitimately confers parole on a vast number of illegal aliens and

makes them eligible for work authorization. Congress created laws to prohibit illegally present

aliens from working for a reason, and Congress’s policy is not served by simply declaring illegal

aliens, en masse, to be legally present.

            D. The PIP Program was promulgated without the required notice and comment.

        “The Administrative Procedure Act requires that before an agency issues a binding rule, it
must (at the very least) public a notice of the proposed rule, allow public comments, and respond.

5 U.S.C. § 553. Those procedures aren’t mere formalities.” Huscoal, Inc. v. Dir., Oﬃce of Workers’

Compensation Programs, 48 F.4th 480, 494 (6th Cir. 2022) (Thapar, J., concurring). But Defendants

refused to submit the PIP Program to the notice-and-comment process. It was therefore

promulgated in violation of the APA.

        Defendants oﬀer several defenses of their decision to publish the Notice without giving any

interested parties an opportunity to be heard. First, they claim that it is merely a general statement

of policy and therefore exempt from the requirement. This is belied by the Notice itself. An agency


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action is not a general statement of policy where “an agency intends to bind itself to a particular

legal position.” Syncor Intern. Corp. v. Shalala, 127 F.3d 90, 94 (D.C. Cir. 1997). Defendants argue

that because there is some discretion in approving applications, that makes it a policy statement not

subject to notice-and-comment requirements. ECF No. 77 at 54–55. But the Notice creates a

binding presumptionthat is, establishes the legal positionthat “a grant of parole in place to an

eligible spouse or stepchild of a U.S. citizen …will advance a signiﬁcant public beneﬁt … .” ECF 77

at 33; 89 Fed. Reg. at 67465 (“Granting parole in place on a case-by-case basis to noncitizens who

meet the criteria outlined in this notice and merit a favorable exercise of discretion will generally

provide a signiﬁcant public beneﬁt to the United States ….”). Defendants’ employees have also

treated the Notice as a binding rule creating rights for the aﬀected aliens, approving 100% of

adjudicated applications submitted pursuant to the PIP Program. ECF No. 79-2, Ex. B at 267.

Regardless, “[t]he mere existence of some discretion is not suﬃcient, although it is necessary for a

rule to be classiﬁed as a general statement of policy.” DACA, 50 F.4th at 524 (“assum[ing] that

agents do have discretion to reject applicants who meet the criteria” of DACA, but rejecting this

made it a policy statement). “DACA created a detailed, streamlined process for granting

enormously signiﬁcant, predeﬁned beneﬁts to over 800,000 people. This constitutes a substantive

rule.” Id. Finally, because the aﬀected aliens could not have been understood to have any eligibility

for parole before the Notice, since “family unity” is not and was not previously considered a

signiﬁcant public beneﬁt, it created (albeit illegally) new rights for such aliens to access parole.
Plaintiﬀs have thoroughly briefed this issue, ECF No. 79 at 50–53, and incorporate that explanation

and argument by reference here.

       Similarly, the Notice is no mere “rule of agency procedure.” See ECF No. 77 at 55. It creates

substantive rights for individuals outside the agency and imposes substantive obligations on the

agencies. See DAPA, 809 F.3d at 176–77 (DAPA program not a procedural rule because it conferred

eligibility for lawful presence on hundreds of thousands of illegal aliens and made them eligible for

beneﬁts). As mentioned above, for example, it creates a binding presumption that an alien who


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meets the requirements of the program is eligible for parole and that such parole will serve a

signiﬁcant public beneﬁt. This changes the substantive standard by which the agency evaluates

applications for parole. Id. at 177. It also establishes a broad concept of signiﬁcant public beneﬁt

that includes “family unity” as suﬃcient justiﬁcation for parole, and that did not exist before the

Notice was promulgated (because it is contrary to the statute). All parties, including Defendants at

times, seem to agree on this. See, e.g., 89 Fed. Reg. at 67466 (“Absent this process, applying for

LPR status requires noncitizens who are present without admission or parole (PWAP) to depart

the United States and remain abroad for an indeﬁnite period … .”); ECF No. 15 Ex. 5 at 6 (“[B]efore

the new process for parole-in-place (‘Keeping Families Together Parole’) was announced, the only

way that Francisco could satisfy the requirement to apply for adjustment of status of being

‘inspected and admitted’ or ‘inspected and paroled’ was to leave the United States and seek an

immigrant visa abroad through consular processing.”) (emphasis added). It simply is not true that

the subject population could just ﬁll out a diﬀerent form to get parole; all seem to agree that without

the PIP Program, parole is not available to the subject population of aliens. Therefore, the Notice

is a substantive rule subject to notice and comment.

       Finally, Defendants claim that the Notice is exempt as a foreign aﬀairs function. The

argument runs directly contrary to applicable precedent. See ECF No. 79 at 38–41. Put simply, a

rule that overhauls how we treat people who have been present in this country for over 10 years,

“no matter the country from which they” arrived, cannot seriously be treated as a foreign aﬀairs
function merely because the Executive discussed it with foreign partners. Capital Area Immigrants’

Rights Coalition v. Trump, 471 F. Supp. 3d 25, 55 (D.D.C. 2020). “Not every request for

international cooperation seriously may be called ‘foreign policy,’” and the PIP Program comes

nowhere close to meeting the standard. Jean v. Nelson, 711 F.3d 1455, 1477-78 (11th Cir. 1983)

(foreign policy exception does not apply to policies regarding detention and parole).

           E. The approval and use of Form I-131F violates the Paperwork Reduction Act.

       In implementing the PIP Program, the Defendants violated the requirements of the


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Paperwork Reduction Act (PRA). 44 U.S.C. §§ 3506, 3507. The Defendants’ arguments to the

contrary fail for four reasons.

        First, the States have standing under the PRE because OMB unlawfully authorized

emergency processing of the Form I-131F used to process applications for the PIP Program. The

PIP Program could not operate without Form I-131F. Therefore, but for the approval of the form,

the States’ harms would not have manifested. The States thus have standing for the same reasons

they are harmed by the PIP Program itself: without the emergency authorization of the Form I-

131F, the PIP Program would not have started and none of its harms to the States would have

manifested.

        Second, the States fall within the zone of interests of the PRA—one of the Act’s speciﬁcally

enumerated purposes is to “strengthen the partnership between the Federal Government and State

... governments by minimizing the burden and maximizing the utility of information created,

collected, maintained, used, disseminated, and retained by or for the Federal Government.” 44

U.S.C. § 3501(6). Therefore, violations of the PRA that weaken the partnership between the federal

government and the States fall squarely within the zone of interests of the Act. Furthermore,

invocation of the PRA to conduct an illegal government program does not maximize information

utility, and maximizing information utility in relation to the States is a purpose speciﬁcally

enumerated in the Act.

        Third, the OMB’s decision to allow emergency processing is reviewable. “[T]he PRA’s bar
on judicial review is demonstratively narrow in scope.” Hyatt v. Oﬀ. of Mgmt. & Budget, 908 F.3d

1165, 1171 (9th Cir. 2018) (citing 44 U.S.C. § 3507(d)(6)). The PRA only forecloses judicial review

of a “decision by the [OMB] Director to approve or not act upon a collection of information

contained in an agency rule.” 44 U.S.C. § 3507(d)(6). Notably absent from the statutory language

is a bar on judicial review of the OMB Director’s decision to grant emergency processing.

        Fourth, OMB’s approval of emergency processing was arbitrary and capricious. Emergency

processing is only permitted in narrow circumstances: when the information “is needed prior to


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the expiration of time periods established under” the PRA; the information “is essential to the

mission of the agency”; and “the agency cannot reasonably comply with the provisions of this

subchapter because” “public harm” will result, “an unanticipated event has occurred,” or the

information collection is needed sooner to comply with statutory or court deadlines. 44 U.S.C.

§ 3507(j)(1); see also 5 C.F.R. § 1320.13(a). USCIS’s ﬁrst claimed justiﬁcation for emergency

processing falls far short of these narrow standards. Speciﬁcally, USCIS claimed that “[e]mergency

processing is justiﬁed because USCIS must quickly collect the requested information to fulﬁll its

mission of implementing the President’s announcement and meet public expectations that USCIS

will begin accepting applications by August 19, 2024.” OMB000002. The only reason public

expectations existed is because President Biden announced the start of the PIP Program without

enough time for the Form I-131F to be approved. If an arbitrary deadline announced by the

President were all that were necessary to justify emergency processing, then this would create an

exception that swallows the rule, allowing the President to waive the PRA’s requirements with the

stroke of a pen whenever he wished. Similarly, USCIS’s second claimed justiﬁcation for emergency

processing also falls ﬂat. Speciﬁcally, USCIS claimed that public harm would result because “the

hardships these families have endured will continue” and because aliens eligible for the PIP

Program would be susceptible to “fraud perpetrated by consultants and others seeking to game the

system, who make false promises to secure parole for a fee.” OMB000002. Once again, these

claims ring hollow. What public harm is caused by requiring eligible aliens who have been present
in the United States for more than ten years to wait a few months more until the PRA’s requirements

have been fulﬁlled? And what additional fraud would eligible aliens be confronting now that is

diﬀerent from what they have faced during their more-than-ten-year illegal stay in the country?

USCIS never explains, instead making unsupported (and unsupportable) claims.

           F. The PIP Program violates the Take Care Clause.

       The Executive Branch is violating the Take Care Clause, U.S. Const., art. II, §3, by refusing

to faithfully execute the Nation’s immigration laws. The problem is not simply that the Executive


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is prioritizing some matters over others—it is that, through the Notice, it is dispensing entirely

with important provisions of the INA. The Take Care Clause is supposed to prevent such

decrees—it repudiates the power, sometimes claimed by English kings, to suspend or otherwise

nullify the law. Christopher N. May, Presidential Deﬁance of “Unconstitutional” Laws: Reviving the

Royal Prerogative, 21 HASTINGS CONST. L.Q. 865, 873 (1994).

       The Defendants contend that the Take Care Clause is nonjusticiable and thus fails as a

matter of law. ECF No. 77 at 60-61. That would be surprising, as the Supreme Court not long ago

ordered the parties in the DAPA case to brief the question whether another immigration-

nonenforcement policy “violate[d] the Take Care Clause of the Constitution.” United States v.

Texas, 577 U.S. 1101 (2016).

       Since our Founding, “both courts and the executive branch itself have recognized the

president’s inability to suspend or dispense with the law.” MPP, 20 F.4th at 981. “The Framers

agreed that the executive should have neither suspending nor dispensing powers.” Id. at 980. The

Supreme Court has held likewise. Kendall v. United States ex rel. Stokes, 37 U.S. 524 (1838). “To

contend that the obligation imposed on the President to see the laws faithfully executed, implies a

power to forbid their execution, is a novel construction of the [C]onstitution, and entirely

inadmissible.” Id. at 613. Any other conclusion would “vest[] in the President a dispensing power.”

Id.

       Through its adoption of the policies of the PIP Program, the Executive Branch dispenses

with certain immigration statutes by declaring as lawful conduct that Congress established as

unlawful, thereby violating the Take Care Clause. U.S. Const. art. II, § 3 (“[The president] shall

take Care that the Laws be faithfully executed …”). Moreover, the PIP Program further violates

the Take Care Clause because it dispenses with certain immigration statutes by granting a pathway

to citizenship to aliens who would otherwise be unlawfully present but for the PIP Program. As

Justice Scalia properly noted, the similar DACA program involved “biennial requests for

dispensation” from immigration statutes. Arizona v. United States, 567 U.S. 387, 435 (2012) (Scalia,


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J., concurring in part and dissenting in part) (emphasis added).

          Plaintiﬀs are not basing their Take Care Clause claim on an implied cause of action arising

from that constitutional provision itself. Instead, they have an explicit cause of action under the

APA, which provides that “[t]o the extent necessary to decision and when presented, the reviewing

court shall decide all relevant questions of law, interpret constitutional and statutory provisions, and

determine the meaning or applicability of the terms of an agency action,” 5 U.S.C. § 706 (emphasis

added), and. a “reviewing court shall … hold unlawful and set aside agency action, ﬁndings, and

conclusions found to be” “contrary to constitutional right, power, privilege, or immunity,” id. at

(2)(B).

          Dalton v. Specter, 511 U.S. 462, 473 (1994) is not to the contrary. While “the Dalton Court

made clear that not every action by the President, or by another executive oﬃcial, in excess of his

statutory authority is ipso facto in violation of the Constitution, it by no means found that action in

excess of statutory authority can never violate the Constitution or give rise to a constitutional

claim.” Make the Rd. N.Y. v. Pompeo, 475 F. Supp. 3d 232, 258 (S.D.N.Y. 2020) (cleaned up) (quoting

Sierra Club v. Trump, 929 F.3d 670, 696 (9th Cir. 2019)).

          Plaintiﬀs’ claim here is not only “that the President simply did not fully comply with a

congressionally prescribed process”—such as failure to undergo notice-and-comment

rulemaking— but “that the President’s actions aﬃrmatively displaced a congressional mandate[.]”

Make the Rd., 475 F. Supp. 3d at 258; see DACA, 50 F.4th at 524–28 (DACA Memorandum is
“foreclosed by Congress’s careful plan” and is “manifestly contrary to the statute.”); id. at 511

(“Congress’s clear articulation of laws for removal, lawful presence, and work authorization

illustrates a manifest intent to reserve for itself the authority to determine the framework of the

[N]ation’s immigration system.”) (quoting Texas, 549 F. Supp. 3d at 614). The PIP Program

therefore implicates “constitutional separation of powers concerns not present in Dalton” and

should be “appropriately considered as [a] constitutional claim[] subject to judicial review.” Make

the Rd., 475 F. Supp. 3d at 258–59.


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        Defendants may also argue that the PIP Program cannot violate the Take Care Clause

because it is an exercise of prosecutorial discretion. But the Notice is a “rule” under the APA,

deﬁned as “‘the whole or a part of an agency statement of general or particular applicability and

future eﬀect designed to implement, interpret, or prescribe law or policy or describing the

organization, procedure, or practice requirements of an agency.’” MPP, 20 F.4th at 982–83

(quoting 5 U.S.C. § 551(4)). This is “in contrast with an ‘order,’” which is deﬁned as “‘the whole

or a part of a ﬁnal disposition, whether aﬃrmative, negative, injunctive, or declaratory in form, of

an agency in a matter other than rule making but including licensing.’” Id. at 983 (quoting 5 U.S.C.

§ 551(6)).

        While individual enforcement actions—“orders”—are properly subject to prosecutorial

discretion, attempts to use “rules” to exercise prosecutorial discretion to not enforce statutes are

dispensations precluded by the Take Care Clause. MPP, 20 F.4th at 983–85. And while “the

executive [is] free to leave the law unenforced in particular instances and at particular moments in

time,” that constitutional provision “explicitly forbade the executive from nullifying whole statutes

by refusing to enforce them on a generalized and prospective basis.” Id. at 983 (emphases in original).

An agency is not permitted “to modify unambiguous requirements imposed by federal statute …

[and] were [courts] to recognize [such] authority … [they] would deal a severe blow” to the Take

Care Clause. Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 326–27 (2014) (citing U.S. Const. Art. II,

§ 3).

             G. The PIP Program is ultra vires.

        The Plaintiﬀ States have outlined in great detail why the PIP Program violates Section

1182(d)(5). Because of this, the Defendants are acting in excess of their authority. It is well-settled

that such actions may be challenged outside the APA through a non-statutory review claim. See

Leedom v. Kyne, 358 U.S. 184, 188-90 (1958). Defendants make two arguments against Plaintiﬀs’

ultra vires claim. Neither is valid.

        First, Defendants argue that, because of the doctrine of sovereign immunity, a non-statutory


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ultra vires claim must be asserted against a public oﬃcer acting in excess of his authority and not

against the government itself. ECF No. 77 at 62–63. The Defendants go on to argue that the

Plaintiﬀs’ claim “is in substance one against the federal government, not against any individual

who is nominally named in the complaint” and that, therefore, the doctrine of sovereign immunity

forecloses any ultra vires claim. Id. at 62.

        Boiled down, Defendants’ argument is that, because the PIP Program was created by federal

oﬃcials acting in their oﬃcial capacity, they have sovereign immunity from suit. Or, in even simpler

terms, their argument is that, because the federal oﬃcials were not acting in excess of their

authority, they are entitled to sovereign immunity. This argument only works if the Defendants

were acting within the scope of their delegated statutory authority. But the whole crux of the States’

ultra vires claim is whether the PIP Program exceeds the authority delegated by Congress in Section

1182(d)(5). If it does, then the federal oﬃcial Defendants are most decidedly not protected by

sovereign immunity, and there is no Larson problem here. The D.C. Circuit explained this in Reich:

“under [Larson], if the federal oﬃcer, against whom injunctive relief is sought, allegedly acted in

excess of his legal authority, sovereign immunity does not bar a suit.” Chamber of Com. of U.S. v.

Reich, 74 F.3d 1322, 1329 (D.C. Cir. 1996). This is because, if the federal oﬃcial’s powers are limited

by statute, “his actions beyond those limitations ... are considered individual and not sovereign

actions. The oﬃcer is not doing the business which the sovereign has empowered him to do. So,

there is no sovereign immunity to waive—it never attached in the ﬁrst place.” Id.
        The same holds true here. If the federal oﬃcials named as Defendants in this case—

Alejandro Mayorkas, Ur Jaddou, Troy Miller, Patrick J. Lechleiter, and Shalanda Young—are

acting in excess of the authority granted by Section 1182(d)(5) and the PRA, then they are “not

doing the business which the sovereign has empowered [them] to do,” and there is thus “no

sovereign immunity to waive.” Id.

        Second, Defendants argue that the availability of a non-statutory review claim did not

survive Congress’s 1976 amendment of the APA to add 5 U.S.C. § 706(2)(C), which waived


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sovereign immunity and created a right of judicial review under the APA for agency action “in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” ECF No. 77

at 63. The Fifth Circuit has already rejected this argument and has speciﬁcally held that Section

702, as amended, allows for non-statutory causes of action: “Section 702 also waives immunity for

claims where a person is ‘adversely aﬀected or aggrieved by agency action within the meaning of a

relevant statute.’ This type of waiver applies when judicial review is sought pursuant to a statutory

or non-statutory cause of action that arises completely apart from the general provisions of the APA.”

Alabama-Coushatta Tribe of Texas v. United States, 757 F.3d 484, 489 (5th Cir. 2014) (quoting 5

U.S.C. § 702).

        The D.C. Circuit has also held that the 1976 amendments did not abolish non-statutory

causes of action: “nothing in the subsequent enactment of the APA altered the McAnnulty doctrine

of review. It does not repeal the review of ultra vires actions recognized long before, in McAnnulty.

When an executive acts ultra vires, courts are normally available to reestablish the limits on his

authority.” Reich, 74 F.3d at 1328. Indeed, federal courts have “repeatedly[] rejected” the federal

government’s argument, “expressly holding that the APA’s waiver of sovereign immunity applies

to any suit whether under the APA or not.” Trudeau v. FTC, 456 F.3d 178, 186 (D.C. Cir. 2006)

(cleaned up). In Trudeau, the D.C. Circuit comprehensively analyzed the legislative history of the

1976 amendments and held that “the measure’s clear purpose [was] elimination of the sovereign

immunity defense in all equitable actions for speciﬁc relief against a Federal agency or oﬃcer acting
in an oﬃcial capacity” and “the Senate Report plainly indicated that Congress expected the waiver

to apply to non-statutory actions, and thus not only to actions under the APA.” Id. at 186–87; see

also Michigan v. U.S. Army Corps of Engineers, 667 F.3d 765, 776 (7th Cir. 2011) (same).

        Congress’s 1976 amendments were not meant to foreclose non-statutory review claims, and

sovereign immunity does not shield the PIP Program. The Kyne exception applies here, and the

States are entitled to assert a non-statutory review claim for ultra vires action.




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IV.   This Court should declare the PIP Program unlawful, stay or vacate it, and preliminarily
      or permanently enjoin its operation and that of similar future agency actions.
              A. Universal vacatur under 5 U.S.C. § 706 is required because the Notice violates
                 the APA.

          On ﬁnding an administrative rule violates the APA, “universal vacatur” under § 706 is

  “required in this circuit.” Texas Med. Assn. v. U.S. Dept. of Health and Human Services, 110 F.4th

  762, 780 (5th Cir. 2024) (emphasis added); contra ECF No. 77 at 70 (claiming the Fifth Circuit has

  “taken the position that universal vacatur is permitted under the APA” but that “Plaintiﬀs go farther

  and argue that universal vacatur is required”) (emphasis added).

          Defendants argue that if vacatur is warranted, it should be limited to the parties here. ECF

  No. 77 at 67–72. But as the Fifth Circuit has recently reaﬃrmed, “party-restricted vacatur” is an

  oxymoron. That is because by its nature, the “scope” of vacatur under § 706 is “‘nationwide … not

  party-restricted,”’ “and ‘aﬀects all persons in all judicial districts equally.”’ Braidwood Mgmt., Inc.

  v. Becerra, 104 F.4th 930 (5th Cir. 2024) (quoting In re Clarke, 94 F.4th 502, 512 (5th Cir. 2024) and

  Career Colleges & Sch. of Texas v. United States Dep’t of Educ., 98 F.4th 220, 255 (5th Cir. 2024))).

  This reading accurately reﬂects the diﬀerence between the APA context—where vacatur of a rule

  “for everyone” is the normal remedy, Kiakombua v. Wolf, 498 F. Supp. 3d 1, 52 (D.D.C. 2020)

  (K.B. Jackson, J.) (citation omitted); see also Career Colleges and Schools of Texas, 98 F.4th at 255—

  and non-APA cases involving requests for equitable relief that ﬂow to particular parties. Cf. Griﬃn

  v. HM Florida-ORL, LLC, 144 S. Ct. 1, 1, n.1 (2023) (Kavanaugh, J., concurring in denial of stay)
  (explaining diﬀerence); see also Jonathan F. Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev.

  933, 950 (2018) (“[T]he [APA] establishes a unique form of judicial review that diﬀers from judicial

  review of statutes.”). 3


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        This interpretation also harmonizes this Court’s “set aside,” 5 U.S.C. § 706(2)(A), authority with the
  rest of the APA. After all, it would be illogical for the APA to allow a court to “postpone the eﬀective date
  of an agency action” during litigation, 5 U.S.C. § 705, but be powerless to terminate that action if the court
  concludes the action is “unlawful,” id. § 706(2).




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        For those same reasons, there is no Article III problem with this Court issuing vacatur

under that APA that happens to beneﬁt non-parties, particularly since it is necessary to provide full

relief to the parties. Contra ECF No. 77 at 67–68. This Court’s authority to resolve this case is clear.

Under Article III, only one plaintiﬀ needs standing to allow a court to decide a case. Once that

requirement is met, this Court has both the power and the duty to enforce the statutory remedy

prescribed by Congress. See, e.g., New York v. U.S. Dept. of Com., 351 F. Supp. 3d 502, 674–75

(S.D.N.Y. 2019), aﬀ’d in part, rev’d in part and remanded sub nom. Dept. of Com. v. New York, 588

U.S. 752 (2019). Here, that remedy is to set aside unlawful agency action under the APA, which

applies regardless of whether it beneﬁts non-parties. See, e.g., Lujan v. Nat’l Wildlife Fed’n, 497 U.S.

871, 913 (1990) (Blackmun, J., dissenting) (when a plaintiﬀ “prevails” on a challenge under the

APA to “a rule of broad applicability,” “the result is that the rule is invalidated, not simply that the

court forbids its application to a particular individual”). Simply put, not only is vacatur

“warranted” here, ECF No. 77 at 67, it is the “only statutorily prescribed remedy for a successful

APA challenge to a regulation.” Franciscan All., Inc. v. Becerra, 47 F.4th 368, 374–75 (5th Cir. 2022).

        Despite all this, Defendants argue the Fifth Circuit has treated universal vacatur as a

“discretionary equitable remedy—not a remedy that is automatic or compelled.” ECF No. 77 at

71. In support, they cite Cargill v. Garland, 57 F.4th 447, 472 (5th Cir. 2023). To be sure, the Fifth

Circuit’s en banc opinion in Cargill did remand to the district court, ECF No. 77 at 71, but only

because “the parties ha[d] not briefed the remedial-scope question.” Cargill, 57 F.4th at 472. And
“[w]hat [Defendants’] short parenthetical citation to Cargill fails to capture is that just before the

plurality decided that remand was appropriate given the lack of brieﬁng, it recited plainly the

proposition that is at odds with [their] argument: ‘vacatur of an agency action is the default rule in

this Circuit.’” Braidwood Management, Incorporated, 104 F.4th 930 n. 102 (5th Cir. June 21, 2024)

(quoting Cargill, 57 F. 4th at 472).

        Next, Defendants spill considerable ink arguing that traditional equitable principles should

inform imposing universal relief under the APA. ECF No. 77 at 68–72. But that is wrong. To begin,


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Defendants’ arguments on this continuously conﬂate the meaningful distinctions between vacatur

and “universal” or “nationwide” injunctions. ECF No. 77 at 68–72. Importantly, APA vacatur

under § 706 is not a nationwide injunction, or even an injunction at all. The Supreme Court has

explained that “[a]n injunction is a drastic and extraordinary remedy, which should not be granted

as a matter of course.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165 (2010). But “partial

or complete vacatur” is “a less drastic remedy” that may still be “suﬃcient to redress” plaintiﬀs’

injury without “recourse to the additional and extraordinary relief of an injunction.” Id. at 165-66.

An injunction generally acts in personam, while vacatur does not. That is, an injunction “operates

on the enjoined oﬃcials” to block them from enforcing a regulation on pain of contempt, but

vacatur of a regulation “unwinds the challenged agency action” altogether. Driftless Area Land

Conservancy v. Valcq, 16 F.4th 508, 522 (7th Cir. 2021). This distinction is critical. While a district

court in this circuit is not required to issue a nationwide injunction, see, e.g., Mock v. Garland, 75

F.4th 563, 587 (5th Cir. 2023), it is required to apply the “default rule” and vacate agency action

shown by Plaintiﬀs to be unlawful. Data Mktg. P’ship, 45 F.4th at 859; Texas Med. Assn., 110 F.4th

at 780. Contra ECF No. 77 at 70 (citing Starbucks Corp. v. McKinney, 144 S. Ct. 1570, 1576 (2024),

which involved the Court declining a lower statutory standard to obtaining a traditional injunction

but not involving—or even mentioning—vacatur or § 706)).

       With that in mind, Defendants’ arguments that courts consider the equities and public

interests before vacating unlawful agency actions falls ﬂat. Even setting aside clear Fifth Circuit
precedent holding vacatur is required and not party-restricted, at this stage, equities give way to

the text of the APA that commands courts “shall” set aside unlawful agency action. 5 U.S.C.

§ 706(2) (emphasis added); Loper Bright at, 2262 (“The text of the APA means what it says.”); see

also Corner Post, Inc. v. Bd. of Governors of Fed. Rsrv. System, 144 S. Ct. 2440, 2467 (2024)

(Kavanaugh, J., concurring) (“The Government has contended that equitable relief is ordinarily

limited to the parties in a speciﬁc case. Therefore, nationwide injunctions would be permissible

only if Congress authorized them. But in the APA, Congress did in fact depart from that baseline


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and authorize vacatur.”); Braidwood Management, Incorporated, 104 F.4th at 952 (“[W]e do not read

out precedent to require consideration of the various equities at stake before determining whether

a party is entitled to vacatur.”). In other words, the meaning of “set aside” in § 706 cannot mean

“vacatur,” Braidwood Mgt., Inc., 104 F.4th at 951, only some of the time, or whenever the balance

of equities or public interest favor a universal remedy.

        In the end, to avoid this circuit’s default rule of vacatur, Defendants present some of the

“thoughtful arguments” against it that exist on “both sides of th[is] debate.” United States v. Texas,

599 U.S. 670, 702 (2023) (Gorsuch., J. concurring). But the Fifth Circuit has chosen the side of

universal vacatur. And until the Supreme Court holds otherwise, that continues to be the required

relief here.

               B. Defendants cannot show they are entitled to the exceptional remedy of remand
                  without vacatur.

        The default rule in this circuit is “vacatur with remand.” Natl. Assn. of Manufacturers v.

U.S. Sec. and Exch. Comm’n, 105 F.4th 802, 815 (5th Cir. 2024) (emphasis added); MPP, 20 F.4th

at 1000 (“[B]y default, remand with vacatur is the appropriate remedy.”) (emphasis added).

Remand without vacatur is an exceptional and rare remedy that is appropriate where “there is at

least a serious possibility that the agency will be able to substantiate its decision given an

opportunity to do so.” See Texas v. Biden, 10 F.4th 538, 560 (5th Cir. 2021) (quoting Tex. Ass’n of

Mfrs. v. U.S. Consumer Prod. Safety Comm’n, 989 F.3d 368, 389 (5th Cir. 2021)). Defendants fail to

show why this Court should depart from the default rule in this circuit.

        First, Defendants argue that because Texas “alleges that the agency failed to engage in

reasoned decision-making or adequately explain its decision” that DHS should be given the

opportunity to address such procedural defects on remand. ECF No. 77 at 66. But as Plaintiﬀs have

shown, the Notice also runs contrary to the text, structure, purpose, and history of 8 U.S.C.

§ 1182(d)(5)(A). No additional explanation, factﬁnding, or notice-and-comment period could ﬁx

this. See DACAs, 50 F.4th at 529 (“There is no possibility that DHS could obviate these conﬂicts



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on remand.”); Texas Med. Assn. v. U.S. Dept. of Health and Human Services, 587 F. Supp. 3d 528,

548 (E.D. Tex. 2022), appeal dismissed, No. 22-40264, 2022 WL 15174345 (5th Cir. Oct. 24, 2022).

Indeed, Defendants do not cite a single case, ECF No. 77 at 66, where a court ordered remanded

without vacatur when the challenged agency action conﬂicted with the governing statute. Cf.,

e.g., Tex. Ass’n of Mfrs. v. U.S. Consumer Prod. Safety Comm’n, 989 F.3d 368, 389-90 (5th Cir.

2021) (remanding without vacatur so agency could “allow industry to comment” and “consider”

certain costs); Cent. & S.W. Servs., Inc v. EPA, 220 F.3d 683, 692 (5th Cir. 2000) (remanding

without vacatur so agency could “justify” its decision).

       Second, Defendants claim that vacatur of the Notice would “cause disruption.” ECF No.

77 at 66–67. But there are no disruptive consequences that would support remand without vacatur.

After all, the notice is “not functionally eﬀective at this moment,” Texas v. U.S. Dept. of

Transportation, No. 5:23-CV-304-H, 2024 WL 1337375, at *20 (N.D. Tex. Mar. 27, 2024). It is hard

to see how vacating a Rule that was only in eﬀect for a few days could have such “disruptive

consequences,” DACA, 50 F.4th at 529, that it would result in this Court being forced to deviate

from the well-settled default rule of vacatur with remand. MPP, 20 F.4th at 1000.

           C. Declaratory judgment is proper.

       The existence of another adequate remedy does not preclude a declaratory judgment that

is otherwise appropriate. Fed. R. Civ. P. 57. Texas has established that the Notice violates the APA,
entitling it to a declaration that clariﬁes the rights and legal relationships among itself and

Defendants. The Court should therefore declare that the Notice, Letter, and Fact Sheet are

unlawful, and that 8 U.S.C. § 1182(d)(5)(A) only permits an alien to be “parole[d] into the United

States,” and only on a case-by-case basis, for bona ﬁde urgent humanitarian reasons or signiﬁcant

public beneﬁts. The statute’s parole authority cannot lawfully be applied to aliens physically

present in the country, whether lawfully or unlawfully. As a result, beneﬁciaries of the PIP Program,

who are already within the United States, cannot be lawfully paroled “into” it.




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            D. Any injunctions should issue nationwide.
        Since Plaintiﬀs have carried their burden to each of the injunction factors, this Court

should—in addition to vacating the Notice—issue permanent injunctive relief with nationwide

applicability. In many APA cases, there is no need for further relief, injunctive or otherwise—once

vacated, the agency action is simply “treated as though it had never happened.” Griﬃn, 144 S. Ct.

at 2 n.1 (Kavanaugh, J.). That said, courts routinely issue other forms of relief in APA challenges.4

Additional injunctive relief is especially important in cases like this one, where an agency has a

history of ﬂouting the plain statutory language of the parole statutes via ﬁnal agency action. 5 cf.

Texas v. Cardona, No. 4:23-CV-00604-0, 2024 WL 3658767, at *50 (N.D. Tex. Aug. 5, 2024)

(vacating agency action and also granting injunctive relief because “the Department has enacted

similar guidance in the past and may attempt to do so again”). 6 A permanent injunction coupled

with vacatur of the Notice is particularly warranted here, where Defendants have asserted that even

without the Notice, “any noncitizen applicant for admission physically present in the United States

can apply for parole in place.” ECF No. 77 at 54.

        This relief should issue nationwide. Immigration lawsuits are in a category of cases that are

“particularly appropriate for universal injunctive relief.” Braidwood Mgt., Inc., 104 F.4th at 954 n.

122 (collecting cases). And as in other immigration cases, here, “broad relief is appropriate to



    4
      E.g., Franciscan All., Inc. v. Becerra, 553 F. Supp. 3d 361, 377 (N.D. Tex. 2021) (rejecting the govern-
ment's argument that a permanent injunction was duplicative with vacatur), aﬀ’d in relevant part, 47 F.4th
368, 377–80 (5th Cir. 2022); DACA, 50 F.4th at 530–31 (aﬃrming the district court’s grant of both vacatur
and a nationwide injunction); Natl. Assn. of Manufacturers v. U.S. Securities and Exch. Comm’n, 631 F. Supp.
3d 423, 431 (W.D. Tex. 2022) (following “the ordinary practice” of granting both vacatur and an injunction).
    5
      See, e.g., Fla. v. United States, 660 F. Supp. 3d 1239 (N.D. Fla. 2023), appeal dismissed, No. 23-11528,
2023 WL 5212561 (11th Cir. July 11, 2023) (vacating DHS Policy on the Use of Parole Plus Alternatives to
Detention to Decompress Border Locations (“Parole + ADT”)).
    6
      Indeed, this would not be the ﬁrst time that a government body repeals a challenged action and replaces
it with something substantially similar, thereby causing comparable injuries. See, e.g., Ne. Fla. Chapter of
Assoc. Gen. Contractors of Am. v. Jacksonville, 508 U.S. 656, 660(1993) (involving the repeal of an ordinance
and its subsequent replacement with a comparable ordinance causing similar injuries to the plaintiﬀ despite
minor diﬀerences between the diﬀerent ordinances).



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ensure uniformity and consistency in enforcement.” Texas, 40 F.4th at 229 n.18. To that end, “a

geographically-limited injunction would be ineﬀective” since once migrants cross into the United

States, they are “free to move among states.” DAPA, 809 F.3d at 188.

       That this incidentally beneﬁts other States is no bar to relief. While “‘as a general rule,

American courts of equity did not provide relief beyond the parties to the case[,] [a]s with all

general rules, of course, this one was subject to exceptions—the most important of which was that

an injunction could beneﬁt non-parties as long as ‘that beneﬁt was merely incidental.’” Feds for

Med. Freedom v. Biden, 63 F.4th 366, 387 (5th Cir. 2023) (en banc) (citations omitted).

       Because “[t]he Constitution requires ‘an uniform Rule of Naturalization,”’ DAPA, 809 F.3d

at 187 (quoting U.S. Const. art. I, § 8, cl. 4) (emphasis in original), “Congress has instructed that

‘the immigration laws of the United States should be enforced vigorously and uniformly,”’ id. at

187–88 (quoting Immigration Reform and Control Act of 1986, Pub. L. No. 99-603, § 115(1), 100

Stat. 3359, 3384) (emphasis in original), “and the Supreme Court has described immigration policy

as ‘a comprehensive and uniﬁed system,”’ id. at 188 (quoting Arizona v. United States, 567 U.S. 387,

401 (2012)). Thus, “[p]artial implementation of [the challenged immigration policy] would

“detract[] from the ‘integrated scheme of regulation’ created by Congress.” Id. (quoting Arizona,

567 U.S. at 401); Cf. Career Colleges and Schools of Texas v. U.S. Dept. of Educ., 98 F.4th 220, 255

(5th Cir. 2024) (“The Department’s protests against nationwide relief are incoherent in light of its

use of the Rule to prescribe uniform federal standards.”).

       Thus, this court should issue a permanent injunction in accordance with Plaintiﬀs’

requested relief in this case. See ECF No. 79–7. Because this challenge implicates the inherently

universal and uniform immigration scheme, any injunction should apply nationwide.

                                           CONCLUSION

       For the reasons explained above, Defendants’ Motion for Summary Judgment should be

denied. Plaintiﬀs respectfully reiterate their request for immediate injunctive relief to halt



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Defendants’ implementation of the illegal PIP Program, including the Notice, the Filing Guide,

and the Form I-131F. Speciﬁcally, Plaintiﬀs respectfully request that this Court stay and ultimately

vacate the Notice. Plaintiﬀs also ask this Court to enter a preliminary—and ultimately a permanent

injunction prohibiting Defendants from implementing the illegal PIP program, accepting

applications pursuant to the PIP Program, or granting parole to PIP applicants. Plaintiﬀs further

request declaratory relief establishing that 8 U.S.C. 1182(d)(5) does not permit the executive to

grant parole on a programmatic basis for large populations, but instead requires case-by-case

analysis in all circumstances.




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Dated: October 25, 2024.                       Respectfully submitted,

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       I certify that a true and accurate copy of the foregoing document was ﬁled electronically
(via CM/ECF) on October 25, 2024, which serves all counsel of record.

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